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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

  TIMOTHY KING, et al.,

               Plaintiffs,

  v.

  GRETCHEN WHITMER, et al.,                            Civil Case No. 20-13134
                                                       Honorable Linda V. Parker
               Defendants.,

  and

  CITY OF DETROIT,
  DEMOCRATIC NATIONAL COMMITTEE,
  MICHIGAN DEMOCRATIC PARTY,
  and ROBERT DAVIS,

            Intervenor-Defendants.
  _____________________________________/

                               OPINION AND ORDER

        This lawsuit represents a historic and profound abuse of the judicial process.

  It is one thing to take on the charge of vindicating rights associated with an

  allegedly fraudulent election. It is another to take on the charge of deceiving a

  federal court and the American people into believing that rights were infringed,

  without regard to whether any laws or rights were in fact violated. This is what

  happened here.
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        Individuals may have a right (within certain bounds) to disseminate

  allegations of fraud unsupported by law or fact in the public sphere. But attorneys

  cannot exploit their privilege and access to the judicial process to do the same.

  And when an attorney has done so, sanctions are in order.

        Here’s why. America’s civil litigation system affords individuals the

  privilege to file a lawsuit to allege a violation of law. Individuals, however, must

  litigate within the established parameters for filing a claim. Such parameters are

  set forth in statutes, rules of civil procedure, local court rules, and professional

  rules of responsibility and ethics. Every attorney who files a claim on behalf of a

  client is charged with the obligation to know these statutes and rules, as well as the

  law allegedly violated.

        Specifically, attorneys have an obligation to the judiciary, their profession,

  and the public (i) to conduct some degree of due diligence before presenting

  allegations as truth; (ii) to advance only tenable claims; and (iii) to proceed with a

  lawsuit in good faith and based on a proper purpose. Attorneys also have an

  obligation to dismiss a lawsuit when it becomes clear that the requested relief is

  unavailable.

        This matter comes before the Court upon allegations that Plaintiffs’ counsel

  did none of these things. To be clear, for the purpose of the pending sanctions

  motions, the Court is neither being asked to decide nor has it decided whether there

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  was fraud in the 2020 presidential election in the State of Michigan.1 Rather, the

  question before the Court is whether Plaintiffs’ attorneys engaged in litigation

  practices that are abusive and, in turn, sanctionable. The short answer is yes.

        The attorneys who filed the instant lawsuit abused the well-established rules

  applicable to the litigation process by proffering claims not backed by law;

  proffering claims not backed by evidence (but instead, speculation, conjecture, and

  unwarranted suspicion); proffering factual allegations and claims without engaging

  in the required prefiling inquiry; and dragging out these proceedings even after

  they acknowledged that it was too late to attain the relief sought.

        And this case was never about fraud—it was about undermining the

  People’s faith in our democracy and debasing the judicial process to do so.

        While there are many arenas—including print, television, and social

  media—where protestations, conjecture, and speculation may be advanced, such

  expressions are neither permitted nor welcomed in a court of law. And while we

  as a country pride ourselves on the freedoms embodied within the First




  1
    In fact, resolution of that issue was never appropriately before the Court for the
  reasons stated in the Court’s December 7, 2020 ruling. (See ECF No. 62.)

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  Amendment, it is well-established that an attorney’s freedom of speech is

  circumscribed upon “entering” the courtroom.2

        Indeed, attorneys take an oath to uphold and honor our legal system. The

  sanctity of both the courtroom and the litigation process are preserved only when

  attorneys adhere to this oath and follow the rules, and only when courts impose

  sanctions when attorneys do not. And despite the haze of confusion, commotion,

  and chaos counsel intentionally attempted to create by filing this lawsuit, one thing

  is perfectly clear: Plaintiffs’ attorneys have scorned their oath, flouted the rules,

  and attempted to undermine the integrity of the judiciary along the way.3 As such,



  2
    See Mezibov v. Allen, 411 F.3d 712, 717, 720-21 (6th Cir. 2005) (quoting Gentile
  v. State Bar of Nev., 501 U.S. 1030, 1071 (1991)) (“[The Supreme Court] has
  noted . . . that ‘[i]t is unquestionable that in the courtroom itself . . . whatever right
  to ‘free speech’ an attorney has is extremely circumscribed. . . . [I]n filing motions
  and advocating for his client in court, [an attorney is] not engaged in free
  expression; he [is] simply doing his job. In that narrow capacity, he voluntarily
  accept[s] almost unconditional restraints on his personal speech rights . . . . For
  these reasons, . . . in the context of the courtroom proceedings, an attorney retains
  no personal First Amendment rights . . . .”).
  3
    Plaintiffs’ counsel and their counsel have suggested that this Court’s handling of
  these proceedings and any resultant decision can be expected based on the
  President who appointed the undersigned. This is part of a continuing narrative
  fostered by Plaintiffs’ counsel to undermine the institutions that uphold our
  democracy. It represents the same bad faith that is at the base of this litigation. To
  be clear, all federal judges, regardless of which President appoints them, take oaths
  affirming that they will “faithfully and impartially discharge” their duties, 28
  U.S.C. § 453, and uphold and protect the Constitution of the United States, 5
  U.S.C. § 3331.

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  the Court is duty-bound to grant the motions for sanctions filed by Defendants and

  Intervenor-Defendants and is imposing sanctions pursuant to Rule 11 of the

  Federal Rules of Civil Procedure, 28 U.S.C. § 1927, and its own inherent authority.

 I.     Procedural History

        On November 3, 2020, a record 5.5 million Michigan residents voted in the

  presidential election, resulting in then-Former Vice-President Joseph R. Biden, Jr.

  securing over 150,000 more votes than then-President Donald J. Trump.4 By the

  following evening, President Biden had been declared the winner in the State.5

  Even though Michigan law establishes an extensive procedure for challenging

  elections, see Mich. Comp. Laws §§ 168.831-.832, .879, Plaintiffs did not avail

  themselves of those procedures, as they conceded at the July 12, 2021 motion

  hearing before this Court (ECF No. 157 at Pg ID 5332-33).

        Instead, at 11:48 p.m. on November 25, 2020—the eve of the Thanksgiving

  holiday—Plaintiffs (registered Michigan voters and nominees of the Republican

  Party to be presidential electors on behalf of the State) filed the current lawsuit

  against Michigan Governor Gretchen Whitmer, Michigan Secretary of State


  4
   Moving forward, the Court refers to the current and former presidents as
  President Biden and Former President Trump, respectively.
  5
   See Sam Gringlas, Biden Wins Michigan, Per The AP, Putting Him 6 Electoral
  Votes From Presidency, NPR (Nov. 4, 2020, 6:00 PM), https://perma.cc/S5NL-
  F9UB; Todd Spangler, Joe Biden Wins Michigan in Critical Battleground Election
  Victory, Detroit Free Press (Nov. 4, 2020, 6:00 PM), https://perma.cc/3N9J-A5KL.
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  Jocelyn Benson, and the Michigan Board of State Canvassers. The following

  lawyers electronically signed the pleading: Sidney Powell, Scott Hagerstrom, and

  Gregory J. Rohl. (ECF No. 1 at Pg ID 75.) The Complaint listed the following

  attorneys as “Of Counsel”: Emily P. Newman, Julia Z. Haller, L. Lin Wood, and

  Howard Kleinhendler. (Id.)

        On November 29, a Sunday, Plaintiffs filed, inter alia, an Amended

  Complaint (ECF No. 6) and an “Emergency Motion for Declaratory, Emergency,

  and Permanent Injunctive Relief and Memorandum in Support Thereof” (“Motion

  for Injunctive Relief”) (ECF No. 7). The same attorneys who electronically signed

  or were listed as “Of Counsel” on the initial complaint signed or were listed on the

  amended pleading. (ECF No. 6 at Pg ID 957.) The amended pleading also listed

  Brandon Johnson as additional “Of Counsel.” (Id.)

        In their Amended Complaint, Plaintiffs alleged three claims pursuant to 42

  U.S.C. § 1983: violations of (Count I) the Elections and Electors Clauses; (Count

  II) the Fourteenth Amendment Equal Protection Clause; and (Count III) the

  Fourteenth Amendment Due Process Clause. (ECF No. 6.) Under Count IV,

  Plaintiffs asserted violations of the Michigan Election Code. (Id.) Underlying

  Plaintiffs’ claims were their contentions that Defendants (i) “failed to administer

  the November 3, 2020 election in compliance with the manner prescribed by the

  Michigan Legislature in the Michigan Election Code, [Mich. Comp. Laws]

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  §§ 168.730-738” and (ii) “committed a scheme and artifice to fraudulently and

  illegally manipulate the vote count to make certain the election of Joe Biden as

  President of the United States.” (See ECF No. 7 at Pg ID 1840 (citing “Compl.,

  Section 1”).) Plaintiffs asserted that their claims were supported by “the affidavits

  of dozens of eyewitnesses and the statistical anomalies and mathematical

  impossibilities detailed in the affidavits of expert witnesses.” (ECF No. 6 at Pg ID

  873.) Plaintiffs attached hundreds of pages as exhibits to their pleadings, some of

  which included affidavits from individuals and reports from purported experts.

  (See ECF Nos. 6-1 to 6-30.) Most of these affidavits had been submitted by

  different lawyers in prior Michigan lawsuits challenging the 2020 presidential

  election. These other lawsuits include Costantino v. City of Detroit, No. 20-

  014780-AW (Wayne Cnty. Cir. Ct. filed Nov. 8, 2020) and Donald J. Trump for

  President, Inc. v. Benson, No. 1:20-cv-01083 (W.D. Mich. filed Nov. 11, 2020).

  Plaintiffs cited to these materials in support of the factual allegations in their

  Amended Complaint and Motion for Injunctive Relief.

        Plaintiffs asked the Court to, inter alia, decertify the election results and

  order Defendants “to transmit certified election results that state that President

  Donald Trump is the winner of the election . . . .” (ECF No. 6 at Pg ID 955; ECF

  No. 7 at Pg ID 1847.) Plaintiffs maintained that this Court had to issue this relief

  by December 8, 2020, because, on that date, the results of the election would be

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  considered conclusive. (See ECF No. 6 at Pg ID 890; ECF No. 7 at Pg ID 1846-

  47.)

         By December 1, motions to intervene had been filed by the City of Detroit

  (“City”) (ECF No. 5), Detroit resident and Michigan voter Robert Davis (ECF No.

  12), and the Democratic National Committee and Michigan Democratic Party

  (“DNC/MDP”) (ECF No. 14). As of that date, however, Plaintiffs had not yet

  served Defendants with the pleadings or the Motion for Injunctive Relief. Thus, on

  December 1, the Court entered a text-only order to hasten Plaintiffs’ actions to

  bring Defendants into the case and enable the Court to address Plaintiffs’ pending

  motions. Plaintiffs served Defendants on December 1 (ECF No. 21), and the Court

  thereafter granted the motions to intervene (ECF No. 28) and entered an expedited

  briefing schedule with respect to Plaintiffs’ Motion for Injunctive Relief (ECF No.

  24).

         On December 7, the Court issued an opinion and order denying Plaintiffs’

  motion and thereby declining to grant Plaintiffs the relief they wanted, which the

  Court noted was “stunning in its scope and breathtaking in its reach” as it sought to

  “disenfranchise the votes of the more than 5.5 million Michigan citizens who . . .

  participat[ed] in the 2020 General Election.” (ECF No. 62 at Pg ID 3296.) The

  Court concluded that Plaintiffs’ lawsuit was subject to dismissal based on any one

  of several legal theories: (i) their claims were barred by Eleventh Amendment

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  immunity; (ii) their claims were barred under the doctrine of laches; (iii) they

  lacked standing; (iv) their claims were moot; and (v) abstention was appropriate

  under the doctrine set forth in Colorado River Water Conservation District v.

  United States, 424 U.S. 800 (1976). (Id. at Pg ID 3301-24.) But the Court also

  concluded that Plaintiffs were not likely to succeed on the merits of their claims.

  (Id. at Pg ID 3324-28.)

        As to Plaintiffs’ claim that Defendants violated the Elections and Electors

  Clauses by deviating from the requirements of the Michigan Election Code, the

  Court pointed out that Plaintiffs failed to “explain how or why such violations of

  state election procedures automatically amount to violations of the clauses” (id. at

  Pg ID 3324), and case law did not support Plaintiffs’ attempt to expand the

  Constitution that far (id. at Pg ID 3325). Thus, the Court found, Plaintiffs’

  Elections and Electors Clauses claim was “in fact [a] state law claim[] disguised as

  [a] federal claim.” (Id. at Pg. ID 3324.) With respect to Plaintiffs’ attempt to

  establish an equal protection claim based on the theory that Defendants engaged in

  tactics to, among other things, switch votes for Former President Trump to votes

  for President Biden, the Court found the allegations to be based on nothing more

  than belief, conjecture, and speculation rather than fact. (Id. at Pg ID 3326-28.)

  As to the due process claim, the Court noted that Plaintiffs abandoned it. (Id. at Pg

  ID 3317 n.5.)

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        The day after the Court issued its decision, attorney Stefanie Lynn Junttila

  entered her appearance in this matter (ECF No. 63) and filed a Notice of Appeal to

  the “Federal Circuit” on behalf of Plaintiffs (ECF No. 64). The notice was updated

  on December 10 to reflect the proper appellate court (namely, the Sixth Circuit

  Court of Appeals). On December 11, 2020, Sidney Powell, Stefanie Lynn Junttila,

  and Howard Kleinhendler filed a petition for writ of certiorari in the United States

  Supreme Court. (See ECF No. 68.) In the petition, when urging immediate

  Supreme Court review, Plaintiffs wrote: “Once the electoral votes are cast [on

  December 14, 2020] subsequent relief would be pointless.” (ECF No. 105-2 at Pg

  ID 4401.)

        On December 15, 2020, the City served a letter (“Safe Harbor Letter”) and

  motion (“Safe Harbor Motion”) on Plaintiffs’ attorneys, threatening sanctions

  pursuant to Rule 11 of the Federal Rules of Civil Procedure. (ECF No. 161-3; see

  also ECF No. 95 at Pg ID 4118-19 (acknowledging service of the motion).)

  Specifically, counsel for the City sent the Safe Harbor Letter and Safe Harbor

  Motion via electronic mail and first-class mail to Sidney Powell, Gregory Rohl,

  Stefanie Lynn Junttila, Scott Hagerstrom, L. Lin Wood, and Howard Kleinhendler.

  (ECF No. 161-3 at Pg ID 6058-67.)




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        In the meantime, the Supreme Court did not rule on Plaintiffs’ petition for

  writ of certiorari by December 14.6 On December 22, Davis filed a motion seeking

  sanctions against Plaintiffs and their counsel pursuant to the Court’s inherent

  authority and 28 U.S.C. § 1927. (ECF No. 69.) On the same day, motions to

  dismiss were filed by Defendants (ECF No. 70), the DNC/MDP (ECF No. 72), and

  the City (ECF No. 73). The City’s motion to dismiss included four paragraphs

  discussing why Plaintiffs and Plaintiffs’ counsel should be sanctioned pursuant to

  § 1927.7 (Id. at Pg ID 3576-78.) And all three motions to dismiss reflected that

  concurrence had been sought, but not obtained, from Plaintiffs’ counsel. (See ECF

  No. 70 at Pg ID 69; ECF No. 72 at Pg ID 3434; ECF No. 73 at Pg ID 3545.)

  Plaintiffs’ response to Davis’ sanctions motion was due on January 5, 2021, and

  their responses to the motions to dismiss were due on January 12. See E.D. Mich.

  LR 7.1(e).

        On January 3, Plaintiffs filed a motion seeking an extension of time (until

  January 19) to respond to Davis’ sanctions motion, citing counsel’s current

  assignments and the need for more time to prepare a response. (ECF No. 74 at Pg

  ID 3598.) The Court granted Plaintiffs’ request. (ECF No. 76.) On January 12,


  6
   The Supreme Court eventually denied the petition on February 22, 2021. (See
  ECF No. 114 and accompanying docket entry text.)
  7
   The City further explained in this motion that it “intends to file a Motion for Rule
  11 sanctions (after the safe harbor expires).” (ECF No. 73 at Pg ID 3558 n.17.)
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  Plaintiffs sought an extension of time (also until January 19) to respond to the

  pending motions to dismiss, again citing the need for more time to research the

  claims advanced in the motions. (ECF No. 82.) The Court granted this request, as

  well.

          On January 14, Plaintiffs filed what was docketed as a response to all three

  pending motions to dismiss, but the single response brief addressed only the

  § 1927 sanctions requested in the City’s motion to dismiss. (ECF No. 85.) On the

  same day, Plaintiffs filed notices voluntarily dismissing this case as to Defendants

  (ECF Nos. 86, 88, 90), the City (ECF No. 87), and the DNC/MDP (ECF Nos. 89,

  91). Plaintiffs moved to voluntarily dismiss Davis a few days later. (ECF No. 92.)

  On January 26, 2021, the parties stipulated to the dismissal of the matter on appeal.

  (See ECF No. 101.)

          In the meantime, on January 5, the City filed a Rule 11 “Motion for

  Sanctions, for Disciplinary Action, for Disbarment Referral and for Referral to

  State Bar Disciplinary Bodies.” (ECF No. 78.) On January 28, Governor Whitmer

  and Secretary of State Benson (hereafter “the State Defendants”) filed a “Motion

  for Sanctions Under 28 U.S.C. § 1927.” (ECF No. 105.) All sanctions motions—

  including Davis’—were fully briefed thereafter.

          On June 8, the Court scheduled a motions hearing for July 6 and, on June 17

  ordered “[e]ach attorney whose name appears on any of Plaintiffs’ pleadings or

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  briefs” to “be present.” (ECF No. 123.) On June 28, Plaintiffs sought to adjourn

  the hearing due to Junttila’s planned vacation (ECF No. 126), a request the

  opposing parties (except Davis) did not contest (ECF No. 126 at Pg ID 5201). The

  Court granted the request and eventually the hearing was scheduled for July 12.

  (ECF No. 147.) Prior to the hearing, Plaintiffs’ attorneys (except Junttila) retained

  counsel to represent them.8 (ECF Nos. 127-140, 148.)

        The Court conducted an almost six-hour virtual hearing on July 12. At the

  beginning of the hearing, the Court explained that each question was directed to all

  attorneys and, if no other attorney commented or added to the initial response to a

  question, the Court would find that all other attorneys agreed with the answer

  placed on the record. (ECF No. 157 at Pg ID 5314.) At the end of the hearing, the

  Court indicated that the attorneys could file supplemental briefs and supporting

  affidavits (id. at Pg ID 5424, 5506-07, 5513, 5515, 5517), and thereafter entered an

  order setting deadlines for those briefs (see ECF No. 150). Supplemental briefs

  were subsequently filed (ECF Nos. 161-62, 164-65), as were responses thereto

  (ECF Nos. 166-171). No attorney filed an affidavit.




  8
    During the July 12 hearing, Donald D. Campbell and Patrick McGlinn
  represented Hagerstrom, Haller, Johnson, Rohl, Wood, Kleinhendler, and Powell,
  while Thomas M. Buchanan represented Newman. By the time post-hearing
  supplemental briefs were filed, Wood and Newman had obtained new counsel.
  (See ECF No. 154, 158.)
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  II.   Sanctions Motions

        The State Defendants and Intervenor-Defendants rely on 28 U.S.C. § 1927,

  Federal Rule of Civil Procedure 11, and the Court’s inherent authority as the

  sources for sanctioning Plaintiffs and/or their counsel. In this section, the Court

  summarizes the arguments made in each sanctions motion. In the next section, the

  Court discusses the law that applies to each source of authority.

        A.     Governor Whitmer & Secretary of State Benson

        The State Defendants seek sanctions against Plaintiffs’ counsel under § 1927

  or, alternatively, the Court’s inherent authority.

        The State Defendants contend that sanctions are appropriate pursuant to

  § 1927 for two reasons. “First, Plaintiffs’ counsel unreasonably and vexatiously

  multiplied the proceedings in this litigation by failing to dismiss the case when

  their claims became moot, which plainly occurred upon the vote of Michigan’s

  electors on December 14, if not earlier.” (ECF No. 105 at Pg ID 4337.)

  “[S]econd, Plaintiffs’ counsel knew or should have known that their legal claims

  were frivolous, but counsel pursued them nonetheless, even after the Court’s

  opinion concluding that Plaintiffs were unlikely to succeed on the merits of their

  claims for multiple reasons,” which included “the weakness of their legal claims

  and the lack of factual support.” (Id. at Pg ID 4367.) And, the State Defendants

  argue, sanctions pursuant to the Court’s inherent authority are appropriate because

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  “Plaintiffs’ claims were meritless, their counsel should have known this, and their

  real motive in filing suit was for an improper purpose.” (Id. at Pg ID 4369-74.)

        In a supplemental brief filed in support of their motion for sanctions on April

  6, 2021, the State Defendants also identify three specific allegations that they

  contend were not well-grounded in fact:

               1. “‘[T]he absentee voting counts in some counties in
                  Michigan have likely been manipulated by a computer
                  algorithm,’ and [] at some time after the 2016
                  election, software was installed that programmed
                  tabulating machines to ‘shift a percentage of absentee
                  ballot votes from Trump to Biden.’”

               2. “Smartmatic and Dominion were founded by foreign
                  oligarchs and dictators to ensure computerized ballot-
                  stuffing and vote manipulation to whatever level was
                  needed to make certain Venezuelan dictator Hugo
                  Chavez never lost another election.”

               3. “The several spikes cast solely for Biden could easily
                  be produced in the Dominion system by preloading
                  batches of blank ballots in files such as Write-Ins,
                  then casting them all for Biden using the Override
                  Procedure (to cast Write-In ballots) that is available to
                  the operator of the system.”

  (ECF No. 118-2 at Pg ID 4804-05 (citing ECF No. 6 at Pg ID 874 ¶ 5, 916-17

  ¶ 124, 922 ¶ 143).)




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        B.     City of Detroit

        The City seeks sanctions against Plaintiffs and Plaintiffs’ counsel for

  violating Rule 11.

        The City first argues that the Complaint was filed for an improper purpose,

  in contravention of Rule 11(b)(1). The City supports this assertion by pointing to

  (i) the hurdles that previously barred Plaintiffs’ success, including Eleventh

  Amendment immunity, mootness, laches, standing, and the lack of merit as to the

  claims under the Constitution and state statutory law; (ii) the lack of seriousness

  and awareness of deficiency evinced by Plaintiffs’ failure to serve Defendants

  before this Court hastened them via its December 1, 2020 text-only order; and (iii)

  Plaintiffs’ counsel’s attempt “to use this Court’s process to validate their

  conspiracy theories,” “undermin[e] our democracy,” and “overturn[] the will of the

  people” as evinced by statements made by some of Plaintiffs’ attorneys. (ECF No.

  78 at Pg ID 3636-43.)

        The City also contends that Plaintiffs’ claims were not well-grounded in law,

  in contravention of Rule 11(b)(2). This is so, the City argues, not only because of

  Eleventh Amendment immunity, mootness, laches, and standing, but also because

  the factual allegations could not support Plaintiffs’ claims or the relief they

  requested. (Id. at Pg ID 3658-62.)




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        The City further contends that Plaintiffs’ allegations were not well-grounded

  in fact, in contravention of Rule 11(b)(3):

             1.     Plaintiffs alleged that “Republican challengers were
                    not given ‘meaningful’ access to the ballot
                    processing and tabulation at the Absent Voter
                    Counting Board located in Hall E of the TCF
                    Center,” knowing that the assertion lacked
                    evidentiary support because it was rejected in
                    Costantino, the state court case decided before
                    Plaintiffs filed the Complaint (id. at Pg ID 3644
                    (citing Am. Compl. at ¶¶ 13, 42, 47, 57, 59-61));

             2.     Plaintiffs alleged that “Republican challengers were
                    exclusively barred from entering the TCF Center,”
                    knowing that the assertion was rejected in
                    Costantino (id. at Pg ID 3645 (citing Am. Compl. at
                    ¶¶ 62-63));

             3.     Plaintiffs alleged that some absentee ballots were
                    “pre-dated,” knowing that the assertion was rejected
                    in Costantino (id. at Pg ID 3645-46 (citing Am.
                    Compl. at ¶¶ 88, 90));

             4.     Plaintiffs alleged that ballots were “counted more
                    than once,” knowing that the assertion was both
                    rejected in Costantino and “conclusively disproven
                    by the Wayne County canvass” (id. at Pg ID 3646-
                    47 (citing Am. Compl. at ¶ 94));

             5.     Plaintiffs alleged that a “software weakness” in
                    Dominion machines “upended Michigan’s election
                    results,” knowing that the “two instances of errors
                    [to which Plaintiffs cite]—one in Antrim County
                    and one in Oakland County (Rochester Hills)”—did
                    not constitute evidentiary support for the allegation
                    (id. at Pg ID 3647-49);


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             6.   Plaintiffs “intentional[ly] lie[d]” by filing the
                  partially redacted declaration of “Spider”—who
                  Plaintiffs identified as “a former US Military
                  Intelligence expert” and “former electronic
                  intelligence analyst with the 305th Military
                  Intelligence”—which was signed by Joshua Merritt,
                  who never completed the entry-level training course
                  at the 305th Military Intelligence Battalion and is
                  not an intelligence analyst (id. at Pg ID 3651-52
                  (citing Am. Compl. at ¶¶ 17, 161));

             7.   Plaintiffs “intentional[ly] lie[d]” by filing the
                  declaration of Russell James Ramsland, Jr., who
                  claimed (i) that there were “reports of 6,000 votes in
                  Antrim County that were switched from Donald
                  Trump to Joe Biden and were only discoverable
                  through a hand counted manual recount,” when
                  “there were no hand recounts in Michigan as of that
                  date”; (ii) “statistically improbable” voter turnouts,
                  including a turnout of 781.91% in North Muskegon,
                  where the publicly-available official results were
                  known, as of election night, to be approximately
                  78%, and a turnout of 460.51% (or, elsewhere on
                  the same chart, 90.59%) in Zeeland Charter
                  Township, where it was already known to be 80%”;
                  and (iii) that “‘ballots can be run through again
                  effectively duplicating them,’” when there were
                  “safeguards in place to prevent double counting of
                  ballots in this way” (id. at Pg ID 3652-54 (emphasis
                  in original)); and

             9.   Plaintiffs “intentional[ly] lie[d]” by filing the
                  “analysis” of William M. Briggs, who relied on
                  “survey” results posted in a tweet by Matt Braynard
                  and the “survey” “misrepresents Michigan election
                  laws”; “disregards standard analytical procedures”;
                  contains “a baffling array of inconsistent numbers”;
                  and includes “conclusions [that are] without merit”
                  (id. at Pg ID 3654-58).

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        The City maintains that monetary sanctions sufficient to deter future

  misconduct by counsel must include the amount counsel collected in their

  fundraising campaign to challenge the 2020 election, as well as the attorneys’ fees

  Defendants incurred to defend against Plaintiffs’ claims. (Id. at Pg ID 3662-63.)

  The City also seeks an injunction barring Plaintiffs and their counsel from filing

  future actions in this District without obtaining approval from a judicial officer and

  asks the Court to refer counsel for discipline and disbarment.9 (Id. at Pg ID 3664,

  3666-69.)

        C.     Davis

        Davis seeks sanctions against Plaintiffs and their counsel pursuant to the

  Court’s inherent authority and § 1927, based on many of the same legal and factual




  9
    The City also argues that “this is the rare case where the Plaintiffs themselves
  deserve severe sanctions.” (ECF No. 78 at Pg ID 3664.) “Rule 11 expressly
  provides the district court with discretion to impose sanctions on a party that is
  responsible for the rule’s violation, provided that the violation is not one for
  unwarranted legal contentions under Rule 11(b)(2).” Rentz v. Dynasty Apparel
  Indus., Inc., 556 F.3d 389, 398 (6th Cir. 2009) (citing Fed. R. Civ. P. 11(c)(1),
  (c)(5)(A)). Nevertheless, courts generally decline to do so, and the Sixth Circuit
  has reserved such sanctions for occasions where the party can be said to have
  caused the violation. Id. The Court is unable to reach that conclusion here,
  particularly given that it is Plaintiffs’ counsel, not Plaintiffs, who have filed similar
  legally frivolous lawsuits in other battleground states.
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  deficiencies set forth by the State Defendants, the City, and this Court in its

  December 7 decision. (ECF No. 69.)

  III.   Applicable Law

         A.    Sanctions Pursuant to 28 U.S.C. § 1927

         “Section 1927 provides that any attorney ‘who so multiplies the proceedings

  in any case unreasonably and vexatiously may be required by the court to satisfy

  personally the excess of costs, expenses, and attorneys’ fees reasonably incurred

  because of such conduct.’” Ridder v. City of Springfield, 109 F.3d 288, 298 (6th

  Cir. 1997) (quoting 28 U.S.C. § 1927). The purpose of a sanctions award under

  this provision is to “deter dilatory litigation practices and to punish aggressive

  tactics that far exceed zealous advocacy.” Red Carpet Studios Div. of Source

  Advantage, Ltd. v. Sater, 465 F.3d 642, 646 (6th Cir. 2006).

         Section 1927 imposes an objective standard of conduct on attorneys, and

  courts need not make a finding of subjective bad faith before assessing monetary

  sanctions. Id. (citing Jones v. Cont’l Corp., 789 F.2d 1225, 1230 (6th Cir. 1986)).

  A court need only determine that “an attorney reasonably should know that a claim

  pursued is frivolous.” Id. (quoting Jones, 789 F.2d at 1230). “Simple inadvertence

  or negligence, however, will not support sanctions under § 1927.” Salkil v. Mount

  Sterling Twp. Police Dep’t, 458 F.3d 520, 532 (6th Cir. 2006) (citing Ridder, 109

  F.3d at 298); see also Red Carpet Studios, 465 F.3d at 646 (holding that “§ 1927

                                            20
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  sanctions require a showing of something less than subjective bad faith, but

  something more than negligence or incompetence”). Ultimately, “[t]here must be

  some conduct on the part of the subject attorney that trial judges, applying

  collective wisdom of their experience on the bench, could agree falls short of the

  obligations owed by a member of the bar to the court . . . .” Ridder, 109 F.3d at

  298 (quoting In re Ruben, 825 F.2d 977, 984 (6th Cir. 1987)).

        B.     Sanctions Pursuant to Rule 11(b) and (c)10

               Rule 11(b) reads, in part:

               By presenting to the court a pleading, written motion, or other
               paper—whether by signing, filing, submitting, or later
               advocating it—an attorney . . . certifies to the best of the
               person’s knowledge, information, and belief formed after an
               inquiry reasonable under the circumstances:

               (1) it is not being presented for any improper purpose,
               such as to harass, cause unnecessary delay, or needlessly
               increase the cost of litigation;

               (2) the claims, defenses, and other legal contentions are
               warranted by existing law or by a nonfrivolous argument
               for extending, modifying, or reversing existing law or for
               establishing new law; [and]

               (3) the factual contentions have evidentiary support or, if
               specifically so identified, will likely have evidentiary

  10
     Although the Court mentioned the availability of imposing Rule 11 sanctions on
  its own initiative during the July 12 hearing, it recognizes such sanctions must be
  preceded by a show cause order, which was not issued here. See Fed. R. Civ. P.
  11(c)(3). Moreover, for the reasons discussed infra, the Court need not rely on that
  authority to sanction Plaintiffs’ counsel.

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               support after a reasonable opportunity for further
               investigation or discovery . . . .11

  Fed. R. Civ. P. 11(b) (emphasis added). Much of the italicized language was

  added to Rule 11 in 1993. See Fed. R. Civ. P. 11 Advisory Committee Notes

  (1993 Amendment). Also added in 1993 was the provision in subsection (c)

  allowing for the sanctioning of attorneys other than presenters who are

  “responsible” for a violation of the rule. Id.; Fed. R. Civ. P. 11(c)(1). As the

  Advisory Committee Notes explain: “The revision permits the court to consider

  whether other attorneys in the firm, co-counsel, other law firms, or the party itself

  should be held accountable for their part in causing a violation.” Fed. R. Civ. P. 11

  Advisory Committee Notes (1993 Amendment).

        Any sanction imposed pursuant to Rule 11 “must be limited to what suffices

  to deter repetition of the conduct or comparable conduct by others similarly


  11
     None of the allegations in the Amended Complaint contain “specific[ ]”
  reference to the need for additional factual support from investigation or discovery.
  And Plaintiffs plead on “information and belief” in only three of the Amended
  Complaint’s 233-paragraphs. One of those paragraphs does not contain a fact
  asserted upon information and belief but seems to be concluding that facts asserted
  elsewhere reflect, upon information and belief, Defendants’ failure to follow
  proper election protocol; another of those paragraphs relate to when a co-inventor
  of certain Dominion-related patents joined Dominion’s predecessor; and the other
  relates to Plaintiffs’ allegation that Defendants failed to post certain absentee ballot
  information before certain times on Election Day. (See ECF No. 6 at Pg ID 934
  ¶ 166, 952 ¶¶ 221, 224.) Plaintiffs have not availed themselves of Rule 11’s
  allowance for claims that “will likely have evidentiary support after a reasonable
  opportunity for further investigation or discovery,” except for arguably in the latter
  two instances.
                                             22
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  situated.” Fed. R. Civ. P. 11(c)(4). This is because “the central purpose of Rule 11

  is to deter baseless filings in district court.” Cooter & Gell v. Hartmarx Corp., 496

  U.S. 384, 393 (1990). Thus, “[e]ven if the careless litigant quickly dismisses the

  action, the harm triggering Rule 11’s concerns has already occurred[,]” and “the

  imposition of such sanctions on abusive litigants is useful to deter such

  misconduct.” Id. at 399.

        Rule 11 “de-emphasizes monetary sanctions and discourages direct payouts

  to the opposing party.” Rentz v. Dynasty Apparel Indus., Inc., 556 F.3d 389, 395

  (6th Cir. 2009) (quoting Ridder, 109 F.3d at 294 (citing Fed. R. Civ. P. 11

  Advisory Committee Notes (1993 Amendment))). “The amended rule recognizes,

  however, that ‘under unusual circumstances deterrence may be ineffective unless

  the sanction not only requires the person violating the rule to make a monetary

  payment, but also directs that some or all of this payment be made to those injured

  by the violation.’” Id. (quoting Fed. R. Civ. P. 11 Advisory Committee Notes

  (1993 Amendment)). In addition, a variety of possible sanctions are available

  under Rule 11, including, but not limited to, “requiring participation in seminars or

  other education programs; ordering a fine payable to the court; [and] referring the




                                           23
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  matter to disciplinary authorities.”12 Fed. R. Civ. P. 11 Advisory Committee Notes

  (1993 Amendment).

        In the Sixth Circuit, the test for imposing Rule 11 sanctions is “whether the

  individual’s conduct was objectively reasonable under the circumstances.” Nieves

  v. City of Cleveland, 153 F. App’x 349, 352 (6th Cir. 2005) (citing Jackson v. Law

  Firm of O’Hara, Ruberg, Osborne & Taylor, 875 F.2d 1224, 1229 (6th Cir. 1989)).

  To determine objective reasonableness, the court must ask “whether the position

  advanced by a party was supported by a reasonable inquiry into the applicable law

  and relevant facts.” Advo Sys., Inc. v. Walters, 110 F.R.D. 426, 430 (E.D. Mich.

  1986) (citations omitted). Whether a “reasonable inquiry” was conducted “is

  judged by objective norms of what reasonable attorneys would have done.” In re

  Big Rapids Mall Assoc., 98 F.3d 926, 930 (6th Cir. 1996). “Courts must not ‘use

  the wisdom of hindsight,’ but must instead test what was reasonable to believe at



  12
    Plaintiffs maintain that the City’s Rule 11 motion is procedurally defective
  because it seeks “both Rule 11 sanctions and . . . disbarment of attorneys and their
  referral to state bar associations for disciplinary action.” (ECF No. 95 at Pg ID
  4114-45.) Plaintiffs note that Rule 11 motions “must be made separately from any
  other motion[.]” (Id. at Pg ID 4145 (citing Fed. R. Civ. P. 11(c)(2) (emphasis
  added by Plaintiffs)).) Plaintiffs’ argument is frivolous. The separate-motion
  requirement is designed only “to prevent [the sanctions request] from being tacked
  onto or buried in motions on the merits, such as motions to dismiss or for summary
  judgment.” Ridder, 109 F.3d at 294 n.7. The City’s request for referral and
  disbarment are merely the sanctions sought for Plaintiffs’ alleged Rule 11
  violations. As indicated above, a “variety of possible sanctions” may be imposed
  for a Rule 11 violation, including those requested by the City.
                                              24
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  the time the pleading, motion, or other paper was submitted.” Gibson v. Solideal

  USA, Inc., 489 F. App’x 24, 29-30 (6th Cir. 2012) (quoting Merritt v. Int’l Ass’n of

  Machinists and Aerospace Workers, 613 F.3d 609, 626 (6th Cir. 2020)).

        This objective standard is “intended to eliminate any ‘empty-head pure-

  heart’ justification for patently frivolous arguments.” Fed. R. Civ. P. 11 Advisory

  Committee Notes (1993 Amendment); Tahfs v. Proctor, 316 F.3d 584, 594 (6th

  Cir. 2003) (“A good faith belief in the merits of a case is insufficient to avoid

  sanctions.”).

                  1.   Signatures

        Plaintiffs’ lawyers argue that no attorney can be sanctioned whose name

  appeared only in typewritten form; that no attorney besides Plaintiffs’ local counsel

  has appeared or signed a document filed in this matter; and that the Court lacks

  jurisdiction to sanction any attorney who did not personally appear or sign a

  document filed in this matter. (ECF No. 95 at Pg ID 4116-18.) Yet, the local

  attorneys assert that, although they signed the filings, they did not prepare them

  and thus should not be responsible for them. (See ECF No. 157 at Pg ID 5322-24,

  5359, 5523; ECF No. 111-1 at Pg ID 4597 ⁋⁋ 2, 4, 6, 7, 9, 15.) As such, no




                                            25
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  attorney wants to take responsibility now that sanctions are sought for filing this

  lawsuit.

        In this age of electronic filing, it is frivolous to argue that an electronic

  signature on a pleading or motion is insufficient to subject the attorney to the

  court’s jurisdiction if the attorney violates the jurisdiction’s rules of professional

  conduct or a federal rule or statute establishing the standards of practice. As set

  forth earlier, Sidney Powell, Scott Hagerstrom, and Gregory Rohl electronically

  signed—at least—the Complaint, Amended Complaint, and Motion for Injunctive

  Relief. The remaining attorneys, except Junttila, were listed as “Of Counsel” on

  one or more of the pleadings.13 The cases Plaintiffs cite to support their argument

  that non-signing attorneys cannot be sanctioned were decided before the 1993

  amendments to Rule 11. (See ECF No. 95 at Pg ID 4116-17.)

        For purposes of Rule 11, an attorney who is knowingly listed as counsel on a

  pleading, written motion, or other paper “expressly authorize[d] the signing, filing,

  submitting or later advocating of the offending paper” and “shares responsibility




  13
    Junttila, however, did sign and docket subsequently filed motions, briefs, or
  other papers in which she and Plaintiffs’ remaining attorneys advocated the claims
  asserted in their pleadings. (See, e.g., ECF No. 85 at Pg ID 3896-3906); see also
  Fed. R. Civ. P. 11(b) (indicating that counsel “present[s] to the court a pleading,
  written motion, or other paper” by, inter alia, “signing,” “filing,” or “later
  advocating it”) (emphasis added).

                                             26
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  with the signer, filer, submitter, or advocate.”14 Morris v. Wachovia Sec., Inc., No.

  3:02cv797, 2007 WL 2126344, at *9 (E.D. Va. 2007) (emphasis removed)

  (quoting Gregory P. Joseph, Sanctions the Fed. Law of Litig. Abuse, § 5(E)(1) at

  110 (3d ed. 2000)). “The Court need not go through ‘mental gymnastics,’ as pre-

  1993 courts sometimes felt compelled to do, see Sanctions, § 5(E)(1) at 109, in

  order [to] hold [the attorney] to account under Rule 11.” Id.

        Notably, because Rule 11 only requires a signature by “at least one

  attorney,” Fed. R. Civ. P. 11(a), documents are frequently presented to federal

  courts which list several attorneys as counsel but contain the signature of only one.

  Regardless, as amended in 1993, Rule 11 allows for sanctions “on any attorney . . .

  that violated the rule or is responsible for the violation.” Fed. R. Civ. P. 11(c)(1)

  (emphasis added). Moreover, Michigan Rule of Professional Conduct 8.5(a) reads:

  “A lawyer not admitted in this jurisdiction is also subject to the disciplinary

  authority of this jurisdiction if the lawyer provides or offers to provide any legal

  services in this jurisdiction.” (emphasis added).




  14
    At the July 12 hearing, Wood asserted for the first time that he was oblivious to
  his inclusion as counsel for Plaintiffs in this case. The Court will address this
  assertion separately.

                                            27
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        By agreeing to place their names on pleadings and/or motions, counsel are

  responsible for those submissions and will be held accountable.15

               2.     L. Lin Wood

        At the July 12 hearing, Wood maintained that the Court lacks jurisdiction to

  sanction him because he played no role in drafting the Complaint, did not read any

  of the documents with respect to the Complaint, was not aware of the affidavits

  attached to it, and did not give permission for his name to be specifically included

  in this action. When the Court asked Wood if he gave permission to have his name

  included on the pleadings or briefs, Wood answered:

               I do not specifically recall being asked about the
               Michigan complaint, but I had generally indicated to
               Sidney Powell that if she needed a, quote/unquote, trial
               lawyer that I would certainly be willing and available to
               help her.[16]

               In this case obviously my name was included. My
               experience or my skills apparently were never needed so
               I didn’t have any involvement with it.

               Would I have objected to be included by name? I don’t
               believe so . . . .


  15
    Although the issue of whether non-signing attorneys can be sanctioned is
  discussed in this Rule 11 section, the Court concludes for the same reasons that
  they can be sanctioned under § 1927 and the Court’s inherent authority, as well.
  The same is true for Wood, Newman, and Rohl, who are discussed in the next
  subsections.
  16
    Wood, therefore, admittedly “offer[ed] to provide . . . legal services in this
  jurisdiction.” MRPC 8.5(a) (emphasis added).
                                         28
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  (ECF No. 157 at Pg ID 5360.) The Court then asked Wood if he gave Powell

  permission to include his name on the filings in this matter, to which he responded:

               I didn’t object to it, but I did not know – I actually did not know
               at the time that my name was going to be included, but I
               certainly told Ms. Powell in discussions that I would help her if
               she needed me in any of these cases, and in this particular
               matter apparently I was never needed so I didn’t have anything
               to do with it.

  (Id. at Pg ID 5360-61.)

        Wood then denied being served with the motion for sanctions and stated that

  he was present only at the hearing because the Court required him to be there. (Id.)

  According to Wood, he only discovered that he had been included as counsel for

  Plaintiffs in this matter when he saw a newspaper article about the sanctions

  motion: “I didn’t receive any notice about this until I saw something in the

  newspaper about being sanctioned.” (Id. at Pg ID 5362, 5366 (emphasis added).)

        When the Court turned to Powell and asked whether she told Wood his name

  was being placed on the pleading, Powell first answered:

               My view, your honor, is that I did specifically ask Mr.
               Wood for his permission. I can’t imagine that I would
               have put his name on any pleading without understanding
               that he had given me permission to do that.




                                           29
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  (Id. at Pg ID 5371.) Powell then suggested that perhaps there was “a

  misunderstanding” between her and Wood.17 (Id.) And Kleinhendler did not recall

  whether he spoke to Wood before Wood’s name was included on the pleading.

  (Id.) The Court does not believe that Wood was unaware of his inclusion as

  counsel in this case until a newspaper article alerted him to the sanctions motion

  filed against him and this is why.

        First, the City’s motion for sanctions was filed on January 5, 2021. (ECF

  No. 78.) At no time between that date and the July 12 hearing did Wood ever

  notify the Court that he had been impermissibly included as counsel for Plaintiffs

  in this action. Almost a month before the motion hearing, the Court entered an

  order requiring “[e]ach attorney whose name appears on any of Plaintiffs’

  pleadings or briefs” to be present at the hearing. (ECF No. 123.) Wood still did

  not submit anything to the Court claiming that his name was placed on those


  17
    The existence of a misunderstanding seems improbable given that several similar
  lawsuits seeking to overturn the presidential election results were filed in Georgia,
  Wisconsin, and Arizona, each bearing the same “Of Counsel” listing for Wood as
  appears here. See Compl., Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga. filed
  Nov. 25, 2020), ECF No. 1 at Pg 103; Compl., Feehand v. Wisconsin Elections
  Commission, No. 2:20-cv-01771 (E.D. Wis. filed Dec. 1, 2020), ECF No. 1 at Pg
  51; Compl., Bowyer v. Ducey, No. 2:20-cv-02321 (D. Ariz. filed Dec. 2, 2020),
  ECF No. 1 at Pg 53. Wood moved for pro hac vice admission in the Arizona
  proceedings. See Remark, Bowyer, No. 2:20-cv-02321 (D. Ariz. Dec. 4, 2020).
  He did not do so in Wisconsin but, like Michigan, the District Court for the Eastern
  District of Wisconsin does not permit pro hac vice motions. E.D. Wis. LR
  83(c)(2)(E).

                                           30
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  filings without his permission. No reasonable attorney would sit back silently if

  his or her name were listed as counsel in a case if permission to do so had not been

  given.

           Second, Wood is not credible. 18 He claims that he was never served with

  the City’s motion for sanctions; however, counsel for the City represents that the

  motion was sent to Wood via e-mail and regular mail. (ECF No. 157 at Pg ID

  5363-64.) Kimberly Hunt, the office manager for the City’s attorneys, affirms in

  an affidavit that she mailed via First Class U.S. Mail a copy of the Safe Harbor

  Letter and the Safe Harbor Motion to Wood, among others, on December 15, 2020,

  and that no copies were returned as undeliverable. (ECF No. 164-3 at Pg ID 6393

  ¶¶ 5, 8.) And despite being told that he had the opportunity to attach an affidavit to




  18
     Notably, while Wood stated at the July 12 hearing that he only learned about the
  motions seeking sanctions against him when he read about it in a newspaper
  article, Wood suggests in his supplemental brief that he in fact learned of his
  purported involvement in the lawsuit when he received a call from one of the
  attorneys in this matter in mid- to late-June 2021, alerting him to the Court’s order
  requiring him to appear at the hearing on the sanctions motions. (ECF No. 162 at
  Pg ID 6102.)
                                             31
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  his supplemental brief in order to put his oath behind his factual assertions (see

  ECF No. 157 at Pg ID 5517), Wood surprisingly chose not to do so.19, 20

        More importantly, Wood’s social media postings undermine his current

  assertions, as do his statements in other court proceedings. As discussed during the

  July 12 hearing, on the day the City e-mailed copies of the Safe Harbor Letter and

  Safe Harbor Motion to Plaintiffs’ counsel, Wood tweeted a link to an article

  containing a copy of the motion, stating “[w]hen you get falsely accused by the

  likes of David Fink and Mark Elias . . . in a propaganda rag like Law & Crime, you

  smile because you know you are over the target and the enemy is runningscared


  19
     Wood asserts in his supplemental brief that he “and his legal assistant have
  performed a diligent search of all email correspondence as well as U.S. mail at Mr.
  Wood’s Atlanta office and elsewhere. They have turned up no evidence to indicate
  they were provided with any Rule 11 notice prior to the filing of the motion.”
  (ECF No. 162 at Pg ID 6122.) Yet no affidavit is offered from Wood or his legal
  assistant to attest to these assertions. And notably, the address listed for Wood on
  the filings in this matter (and thus where the City’s attorneys mailed items to him)
  is a post office box, not his firm’s address.
  20
    Wood contends that he is entitled to a “full evidentiary hearing”—“should the
  Court determine that material factual questions do exist”—so that he “may present
  to the Court with the evidence of record, sufficient to establish the factual
  representations” made in his supplemental brief regarding why this Court does not
  have “jurisdiction” to sanction him. (ECF No. 162 at Pg ID 6124.) He is entitled
  to no such thing. See In re Big Rapids Mall Assoc., 98 F.3d at 929 (recognizing
  that an evidentiary hearing is “not necessarily required where the court has full
  knowledge of the facts and is familiar with the conduct of the attorneys”). The
  July 12 hearing provided Wood the opportunity to present his evidence and, as
  noted supra, he had the further opportunity to attach an affidavit as evidence to his
  supplemental brief.

                                            32
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  [sic]!” (ECF No. 164-6 at Pg ID 6424; ECF No. 157 at Pg ID 5369-70.) On

  January 5, 2021, the day the City filed the motion, Wood tweeted a link to an

  article with the motion, stating that it was “unfair” for the City to seek sanctions

  against him. (ECF No. 164-7 at Pg ID 6426.) In a federal courtroom in the

  Eastern District of New York on January 11, Wood acknowledged that the City

  was “trying to get [him] disbarred.” (ECF No. 164-12 at Pg ID 6506.)

        Even more importantly, prior to the July 12 hearing, Wood took credit for

  filing this lawsuit.21 In a brief submitted in the Delaware Supreme Court, Wood

  claimed, through his counsel:

               [Wood] represented plaintiffs challenging the results of
               the 2020 Presidential election in Michigan and
               Wisconsin. . . . In the days and weeks following the
               [General Election of 2020], Wood became involved in
               litigation contesting the election’s results or the manner
               votes were taken or counted in critical “swing states.”
               Among those cases in which Wood became involved were
               lawsuits in Wisconsin, Michigan, and Wood’s own suit
               in the State of Georgia.




  21
    Notably, Rohl stated under oath that Wood, along with Powell, “spearheaded”
  this lawsuit. (ECF No. 111-1 at Pg ID 4597.) Though the Court hesitates to rely
  too much on the assertions of any of Plaintiffs’ attorneys because their positions—
  as counsel for the City aptly describes—have been like “[s]hifting [s]ands[,]” the
  Court notes that Rohl’s sworn affidavit was attached to a supplemental brief filed
  by Plaintiffs’ counsel in response to the City’s motion for sanctions. (See ECF No.
  111 at Pg ID 4556, 4559, 4561-62.) No member of Plaintiffs’ legal team objected
  to any part of Rohl’s affidavit.

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  (ECF No. 164-13 at Pg ID 6525-26 (emphasis added) (internal citation omitted).)

  These statements are binding on Wood. See K.V.G. Props., Inc. v. Westfield Ins.

  Co., 900 F.3d 818, 822 (6th Cir. 2018) (citing Fed. R. Evid. 801(d)(2)) (noting that

  pleadings, which are judicial admissions, “are binding legal documents that can be

  admitted as evidence against that party in subsequent proceedings”).22

        For these reasons, while Wood now seeks to distance himself from this

  litigation to avoid sanctions, the Court concludes that he was aware of this lawsuit

  when it was filed, was aware that he was identified as co-counsel for Plaintiffs, and

  as a result, shares the responsibility with the other lawyers for any sanctionable

  conduct.

               3.    Emily Newman & Gregory Rohl

        Newman contends that she had a limited role in this lawsuit, having “not

  play[ed] a role in drafting the complaint” and spending “maybe five hours on [the

  matter]” “from home.” (ECF No. 157 at Pg. ID 5317-18, 5324.) Therefore,

  Newman argues, she should not be subject to sanctions.




  22
    See also United States v. Burns, 109 F. App’x 52, 58 (6th Cir. 2004) (noting that
  courts have “discretion to consider statements made in a brief to be a judicial
  admission” and binding on the party who made them); Beasley v. Wells Fargo
  Bank, N.A. for Certificate Holders of Park Place Sec., Inc., 744 F. App’x 906, 914
  (6th Cir. 2018) (same).

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        By placing her name on the initial and amended complaints, Newman

  presented pleadings to the Court asserting that Defendants committed

  constitutional and state law violations. Newman does not suggest that her name

  was included without her permission. In addition, Newman does not cite case law

  suggesting that an attorney may not be sanctioned under Rule 11 or any other

  source of sanctions authority if the time spent on the relevant lawsuit does not

  surpass an unidentified threshold. (See generally ECF No. 168.) And Newman’s

  responsibility for any Rule 11 violation is not diminished based on where those

  working hours were spent (particularly during a global pandemic when many

  individuals were working remotely from home). See Fed. R. Civ. P. 11 Advisory

  Committee Notes (1993 Amendment) (“[S]anction[s] should be imposed on the

  persons—whether attorneys, law firms, or parties—who have violated the rule or

  who may be determined to be responsible for the violation. . . . The revision

  permits the court to consider whether other attorneys in [a] firm, co-counsel, other

  law firms, or the party itself should be held accountable for their part in causing a

  violation,” even if they were not “the person actually making the presentation to

  the court.”); see Morris, 2007 WL 2126344, at *9. So long as the attorney bears

  some responsibility, the attorney may be sanctioned. Fed. R. Civ. P. 11(c)(1).

        In an affidavit filed in this case, Rohl stated that at “approximately 6:30 PM”

  on the day this lawsuit was filed, he “was contacted by an associate who asked

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  Rohl if he would assist in litigation involving alleged election fraud in Michigan.”

  (ECF No. 111-1 at Pg ID 4597.) He thereafter received a copy of “the already

  prepared” 830-page initial complaint and Rohl “took well over an hour” to review

  it. (Id.) “[M]aking no additions, deletions or corrections” to the Complaint (id. at

  Pg ID 4598), Rohl had his secretary file it at 11:48 p.m. (Id. at Pg ID 4597; ECF

  No. 1.)

        To the extent Rohl asserts he should not be sanctioned because he read the

  pleading only on the day of its filing, the argument does not fly. Rule 11(b)

  “obviously require[s] that a pleading, written motion, or other paper be read before

  it is filed or submitted to the court,” Fed. R. Civ. P. 11 Advisory Committee Notes

  (1993 Amendment), and the Court finds it exceedingly difficult to believe that

  Rohl read an 830-page complaint in just “well over an hour” on the day he filed it.

  So, Rohl’s argument in and of itself reveals sanctionable conduct. Rule 11(b) also

  explains that, by presenting a pleading to the court, an attorney certifies that “to the

  best of the person’s knowledge, information, and belief, formed after a reasonable

  inquiry under the circumstances,” the complaint is not being filed for an improper

  purpose and is well-grounded in law and fact. Fed. R. Civ. P. 11(b) (emphasis

  added). The Court finds it even more difficult to believe that any inquiry Rohl

  may have conducted between the time he finished reading the Complaint and 11:48

  p.m. could be described as a “reasonable” one. But also, Rohl cannot hide behind

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  his co-counsel. As a signer of the complaints, Rohl certified to the Court that the

  claims asserted were not frivolous. Moreover, because his co-counsel were not

  admitted to practice in the Eastern District of Michigan, the complaints could not

  have been filed without Rohl’s signature. See E.D. Mich. LR 83.20(f)(1),

  (i)(1)(D)(i). Therefore, to the extent Rohl contends that he was only helping co-

  counsel, he still failed to fulfill his obligations as an officer of the court.

                4.     Safe Harbor Requirement

         At least 21 days before submitting a Rule 11 motion to a court, the movant

  must serve “[t]he motion” on the party against whom sanctions are sought and the

  motion “must describe the specific conduct that allegedly violates Rule 11(b).”

  Fed. R. Civ. P. 11(c)(2). As indicated above, the City served a copy of its Rule 11

  motion on Plaintiffs’ counsel at least 21 days before it was filed.23 Plaintiffs argue


  23
     With each new brief filed and opportunity to argue before the Court, Plaintiffs’
  attorneys raise a new argument for why they were not adequately served with the
  City’s Safe Harbor Letter and Safe Harbor Motion. First, in their original response
  to the motion, Plaintiffs’ counsel argued only that the notice served upon them was
  deficient because it was not accompanied by the City’s more detailed brief. (See
  ECF No. 95 at Pg ID 4119.) Then, at the July 12 motion hearing, Wood and
  Newman suddenly claimed that they had not been served at all with the City’s safe
  harbor materials. (ECF No. 157 at Pg ID 5317, 5362.) In the supplemental brief
  filed by Campbell on behalf of Plaintiffs’ counsel Hagerstrom, Haller, Johnson,
  Kleinhendler, Powell, and Rohl, counsel insinuates that the Rule 11 motion was
  not properly served pursuant to Rule 5 of the Federal Rules of Civil Procedure, as
  required under Rule 11(c)(2). (See ECF No. 161 at Pg ID 5805 n.6.) No specific
  argument is made, however, as to how service did not comply with Rule 5. (Id.);
  see McPherson v. Kelsey, 125 F.3d 989, 995-96 (6th Cir. 1997) (“It is not

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  that the City failed to comply with this “safe harbor” provision because the brief in

  support of the motion, which was filed later, was not included. (See ECF No. 95 at

  Pg ID 4118-19; ECF No. 161 at Pg ID 5805-06.) According to Plaintiffs, the

  City’s motion “makes only conclusory statements and blanket assertions regarding

  the alleged violations of Rule 11 and fails altogether to ‘describe the specific

  conduct that allegedly violates Rule 11(b).’” (ECF No. 95 at Pg ID 4119 (quoting

  Fed. R. Civ. P. 11(c)(2)).)

        Rule 11, however, requires service of only “[t]he motion” to trigger the

  commencement of the 21-day safe harbor period. See Fed. R. Civ. P. 11(c)(2)

  (“The motion must be served . . . .”); see also Star Mark Mgmt. v. Koon Chun Hing



  sufficient for a party to mention a possible argument in the most skeletal way,
  leaving the court to . . . put flesh on its bones.”) In his next filing on behalf of
  Hagerstrom, Haller, Johnson, Kleinhendler, Powell, and Rohl, Campbell raises two
  new arguments: (i) the City did not mail a copy of the safe harbor materials to the
  correct address for Johnson, and (ii) in a footnote of the safe harbor motion,
  concurrence was only sought from Powell. (ECF No. 167 at Pg ID 6679 n.1
  (citing ECF No. 164-4 at Pg ID 6409 n.1).) Newman picked up the same refrain
  about her address in her supplemental brief. (See ECF No. 168 at Pg ID 7608-09.)
  Wood said nothing in his supplemental brief to challenge the address where he was
  served; however, in his response to the City’s supplemental brief, he claimed for
  the first time that the zip code used by the City when mailing the safe harbor
  materials to him was incorrect. (See ECF No. 170 at Pg ID 6801.) However, the
  addresses used by the City for each of these attorneys, including Wood’s zip code
  (see ECF No. 161-3 at Pg ID 6058), were the exact addresses provided by
  Plaintiffs in their filings (see, e.g., ECF No. 1 at Pg ID 75; ECF No. 6 at Pg ID
  957). The belated argument regarding footnote 1 of the City’s Safe Harbor Motion
  is frivolous as the Safe Harbor Letter was addressed to all counsel. (ECF No. 161-
  3 at Pg ID 6058.)
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  Kee Soy & Sauce Factory, Ltd., 682 F.3d 170, 176 (2d Cir. 2012) (citing Ideal

  Instruments, Inc. v. Rivard Instruments, Inc., 243 F.R.D. 322, 339 (N.D. Iowa

  2007)) (finding that the defendant’s delivery of its sanctions motion met the

  procedural requirements of the safe harbor provision of Rule 11(c)(2) despite not

  serving at that time supporting affidavits or a memorandum of law); Burbidge

  Mitchell & Gross v. Peters, 622 F. App’x 749, 757 (10th Cir. 2015) (quoting Star

  Mark, 682 F.3d at 176 and “join[ing] the Second Circuit in declining ‘to read into

  the rule a requirement that a motion served for purposes of the safe harbor period

  must include supporting papers such as a memorandum of law and exhibits’”). As

  Plaintiffs’ attorneys correctly point out (see ECF No. 161 at Pg ID 5805-06), the

  Local Rules for the Eastern District of Michigan require a motion to be

  accompanied by a brief, see E.D. Mich. LR 7.1(d)(1)(A), and judges in this District

  strike motions not complying with this requirement, see, e.g., Williams Huron

  Gardens 397 Trust v. Waterford Twp., No. 18-12319, 2019 WL 659009, at *1

  (E.D. Mich. Jan. 26, 2019). But this speaks to when a motion is filed. Moreover,

  the issue here is not whether the City complied with the District’s local rules;

  rather, it is whether the City satisfied Rule 11’s safe harbor requirements.

        The Safe Harbor Motion the City served on Plaintiffs’ counsel on December

  15, 2020, “describe[s] the specific conduct that allegedly violates Rule 11(b).”




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  Fed. R. Civ. P. 11(c)(2). Specifically, the City asserted violations of subdivisions

  (b)(1)-(3) of the rule:

               1. “Initiat[ing] the instant suit for improper purposes,
                  including harassing the City and frivolously
                  undermining ‘People’s faith in the democratic process
                  and their trust in our government.’ . . .
                  [U]nderst[anding] that the mere filing of a suit (no
                  matter how frivolous) could, without any evidence,
                  raise doubts in the minds of millions of Americans
                  about the legitimacy of the 2020 presidential
                  election.” (ECF No. 161-3 at Pg ID 6060 (quoting
                  ECF No. 62 at Pg ID 3329-30).)

               2. Asserting “causes of action . . . in the Complaints
                  (ECF Nos. 1 and 6), Emergency Motion for
                  Declaratory, Emergency, and Permanent Injunctive
                  Relief and Memorandum in Support Thereof (ECF
                  No. 7), and Emergency Motion to Seal (ECF No. 8)
                  [that] were frivolous and legally deficient under
                  existing law and because Plaintiffs failed to present
                  any non-frivolous arguments to extend, modify, or
                  reverse existing law.” (ECF No. 161-3 at Pg ID
                  6061.) The City then went on to detail the legal
                  deficiencies as to Plaintiffs’ Elections and Electors
                  Clauses, Equal Protection Clause, and Due Process
                  Clause claims, and further argued that Plaintiffs
                  lacked standing and their claims were moot and
                  barred by laches. (Id. at Pg ID 6061-63.)

               3. Raising “factual contentions . . . in the complaints and
                  motions [which were] false.” (Id. at 6063.) The City
                  wrote further: “The key ‘factual’ allegations from the
                  supposed fact witnesses, some of whom attempt to
                  cloak their identities while attacking democracy, have
                  been debunked. The allegations about supposed fraud
                  in the processing and tabulation of absentee ballots by
                  the City at the TCF Center have been rejected by

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                  every court which has considered them.” (Id. at Pg ID
                  6064.)

        Plaintiffs’ attorneys maintain that the City’s motion was deficient because it

  “did not cite a single case or fact supporting [its] arguments” (ECF No. 161 at Pg

  ID 5806) and “fail[ed] to identify any specific factual allegation or witness that

  lacks evidentiary support” (ECF No. 95 at Pg ID 4119). Plaintiffs’ attorneys do

  not identify any authority requiring case citations in a Rule 11 motion to satisfy the

  safe harbor requirements.24 Moreover, the failure to identify specific facts or

  witnesses has no bearing on the adequacy of the motion as to the claimed

  violations of Rule 11(b)(1) or (2).

        And as to the claimed violations of Rule 11(b)(3), the motion was specific as

  to the violative conduct: All of the allegations discussed in the Rule 11(b)(3)

  analysis below (with the exception of one) concern supposed fraud in the

  processing and tabulation of absentee ballots by the City at the TCF Center (see

  infra 68-78)—just as the City specifically identified. And the one exception

  concerns a key factual allegation that was debunked in Costantino. (See ECF No.

  31-15 at 2440-41.) Moreover, in the Safe Harbor Motion, the City expressly refers

  to its response to Plaintiffs’ Motion for Injunctive Relief “for a detailed debunking


  24
    As discussed earlier, Rule 11(c)(2) does not require a memorandum of law or
  exhibits to satisfy the safe harbor requirements. Star Mark Mgmt., 682 F.3d at
  176; Ideal Instruments, Inc., 243 F.R.D. at 339; Burbidge Mitchell & Gross, 622 F.
  App’x at 757.
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  of Plaintiffs’ baseless factual contentions.”25 (ECF No. 161-3 at Pg ID 6064

  (citing ECF No. 39 at Pg ID 2808-2[8]33).)

        C.     Sanctions Pursuant to the Court’s Inherent Authority

        “Even if there are sanctions available under statutes or specific federal rules

  of procedure, . . . the ‘inherent authority’ of the court is an independent basis for

  sanctioning bad faith conduct in litigation.” Dell, Inc. v. Elles, No. 07-2082, 2008

  WL 4613978, at *2 (6th Cir. June 10, 2008) (citing Chambers v. NASCO, Inc., 501

  U.S. 32, 49-50 (1991)); see also Runfola & Assocs. v. Spectrum Reporting II, Inc.,

  88 F.3d 368, 375 (6th Cir. 1996) (“In addition to Rule 11 and 28 U.S.C. § 1927, a

  district court may award sanctions pursuant to its inherent powers when bad faith

  occurs.”). To award attorneys’ fees under this “bad faith exception,” a district

  court must find that (i) “the claims advanced were meritless”; (ii) “counsel knew or

  should have known this”; and (iii) “the motive for filing the suit was for an

  improper purpose such as harassment.” Big Yank Corp. v. Liberty Mut. Fire Ins.

  Co., 125 F.3d 308, 313 (6th Cir. 1997) (citation omitted) (“The district court has

  the inherent authority to award fees when a party litigates in bad faith, vexatiously,

  wantonly, or for oppressive reasons.” (internal quotation marks omitted)).



        25
            Even if the City did not specify every allegation in Plaintiffs’ pleading
  lacking evidentiary support, the same conduct could be sanctioned (and, as found
  infra, is sanctionable) under the Court’s inherent authority.

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        The Sixth Circuit has further explained:

               For a court to impose sanctions under its inherent
               powers, it is not necessary that the court find that an
               action was meritless as of filing, or even shortly
               thereafter. It can become apparent part-way through a
               suit that an action that initially appeared to have merit is
               in fact meritless; parties and attorneys have a
               responsibility to halt litigation whenever they realize that
               they are pursuing a meritless suit. . . . [M]oreover, a party
               or firm might enter an action long after the filing of the
               initial complaint, but may still be sanctionable under a
               court’s inherent powers if it acts in bad faith. The
               “something more” that a court must find to meet the third
               prong of the Big Yank test may similarly occur at any
               stage of the proceedings. A court imposing sanctions
               under its inherent powers may consider the nature and
               timing of the actions that led to a finding of bad faith in
               determining whether to impose sanctions on conduct
               from that point forward, or instead to infer that the
               party’s bad faith extended back in time, perhaps even
               prior to the filing of the action.

  BDT Prod., Inc. v. Lexmark Int’l, Inc., 602 F.3d 742, 753 n.6 (6th Cir. 2010)

  (emphasis in original). The Supreme Court has held that “a federal court’s

  inherent authority to sanction a litigant for bad-faith conduct by ordering it to pay

  the other side’s legal fees . . . is limited to the fees the innocent party incurred

  solely because of the misconduct.” In re Bavelis, 743 F. App’x 670, 675 (6th Cir.

  2018) (quoting Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1183-84

  (2017)). In other words, “[t]he complaining party . . . may recover ‘only the

  portion of his fees that he would not have paid but for’ the misconduct” but courts


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  have “considerable room” to “exercise discretion and judgment” when making this

  “but for” determination. Id. at 676 (quoting Goodyear Tire, 137 S. Ct. at 1187).

        Plaintiffs’ attorneys contend that the Court cannot rely on its inherent

  authority because “[t]he comments accompanying Rule 11 indicate that its

  procedures are controlling when the Court exercises its inherent authority.” (ECF

  No. 161 at Pg ID 5804.) This argument is misleading. Plaintiffs’ counsel first

  quote the Advisory Committee’s 1993 comment to Rule 11: “The power of the

  court to act on its own initiative is retained, but with the condition that this be done

  through a show cause order.” (Id. (quoting Fed. R. Civ. P. 11 Advisory Committee

  Notes (1993 Amendment)).) But this comment simply explains that the

  amendment retained the authority for courts to issue sua sponte sanctions pursuant

  to Rule 11 but with the added requirement of a show cause order.

        To maintain that the show cause requirement applies to sanctions under a

  court’s inherent authority, Plaintiffs’ attorneys quote a second statement in the

  comments but strategically omit the following key italicized language: “[T]he

  procedures specified in Rule 11—notice, opportunity to respond, and findings—

  should ordinarily be employed when imposing a sanction under the court’s

  inherent authority.” (Id. (omitted language added).) Nothing in the comments

  suggests that the additional procedures in Rule 11 apply when a court sanctions




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  pursuant to its inherent authority or that Rule 11 supplants this authority. In fact,

  the Advisory Committee’s 1993 comment specifically states the opposite:

               Rule 11 is not the exclusive source for control of
               improper presentations of claims, defenses, or
               contentions. It does not supplant statutes permitting
               awards of attorney’s fees . . . . It does not inhibit the
               court in punishing for contempt, in exercising its inherent
               powers, or in imposing sanctions, awarding expenses, or
               directing remedial action authorized under other rules or
               under 28 U.S.C. § 1927.

  Fed. R. Civ. P. 11 Advisory Committee Notes (1993 Amendment) (emphasis

  added).

        When invoking its inherent authority to sanction, “[a] court must, of course,

  . . . comply with the mandates of due process, both in determining that the requisite

  bad faith exists and in assessing fees.” Chambers, 501 U.S. at 50 (citing Roadway

  Express, Inc. v. Piper, 447 U.S. 752, 767 (1980)). The Sixth Circuit has further

  explained:

               The district court must [] afford the parties concerned . . .
               at least minimal procedural protections, including notice
               and the opportunity to respond or to be heard. Miranda,
               710 F.2d at 522. We do not, in so holding for due
               process purposes, indicate that there must be a formal
               ‘complaint’ lodged with specifications in the event of a
               proposed sanction, or that a ‘full fledged’ hearing is
               mandated, but notice and a reasonable opportunity to be
               heard is a minimum protection to be afforded.

  Ray A. Scharer & Co. v. Plabell Rubber Prod., Inc., 858 F.2d 317, 321 (6th Cir.

  1988) (additional internal citations omitted) (discussing due process in context of
                                            45
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  court’s inherent authority); see also Banner v. City of Flint, 99 F. App’x 29, 37

  (6th Cir. 2004) (explaining that, when exercising its inherent authority, a court

  must “give . . . minimal procedural protections, but no[] formal notice detailing the

  penalties or a full evidentiary hearing” is required “when the court has sufficient

  relevant information, including pleadings or materials filed in the record, to

  decide”); In re Big Rapids Mall Assoc., 98 F.3d at 929 (recognizing that an

  evidentiary hearing is “not necessarily required where the court has full knowledge

  of the facts and is familiar with the conduct of the attorneys”). Ultimately, when a

  court intends to invoke its inherent authority, “[a]t the very least, responsive

  briefing . . . [can] provide[] the procedural safeguards necessary.” KCI USA, Inc.

  v. Healthcare Essentials, Inc., 797 F. App’x 1002, 1007 (6th Cir. 2020); see also

  Red Carpet Studios, 465 F.3d at 647 (finding that the court provided due process

  when sanctioning via its inherent authority where sanctioned party “argued his case

  in writing and at a hearing, and [] makes no argument why the notice and the

  hearing he received were inadequate”).

        Plaintiffs’ lawyers have been afforded due process here. Through the

  multiple motions for sanctions and related briefs and during the July 12 motion

  hearing, they received notice of: (i) who sanctions were being sought against; (ii)

  the reasons why; (iii) the authority pursuant to which sanctions were requested;

  and (iv) the types of sanctions requested. Counsel were provided the opportunity

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  to answer the sanctions allegations in responsive briefs, orally at the six-hour

  hearing, and in supplemental briefing. To the extent the Court questioned

  Plaintiffs’ counsel about materials attached to their pleadings which had not been

  specifically addressed in the movants’ briefs, counsel had an opportunity to

  respond to those concerns in their supplemental briefs—and counsel took

  advantage of that opportunity. (See, e.g., ECF No. 161 at Pg ID 5815-19; ECF No.

  165 at Pg ID 6578-80; ECF No. 167 at Pg ID 6682-84, 6684 n.3).

  IV.   Discussion26

        A.     Whether Plaintiffs’ Counsel Violated 28 U.S.C. § 1927

        The Court first considers whether Plaintiffs’ counsel unreasonably and

  vexatiously multiplied proceedings by failing to dismiss this case when even they

  acknowledged it became moot. Ridder, 109 F.3d at 298 (quoting 28 U.S.C.

  § 1927).

        Plaintiffs expressly acknowledged in their petition for writ of certiorari to

  the Supreme Court that “[o]nce the electoral votes are cast, subsequent relief would

  be pointless,” and “the petition would be moot.” (ECF No. 105 at Pg ID 4362

  (citing ECF No. 105-2 at Pg ID 4401, 4409).) Michigan’s electors cast their votes


  26
    At last, this opinion arrives at the issue of whether Plaintiffs’ attorneys should be
  sanctioned. The Court is aware of how long it took to get here. But addressing
  Plaintiffs’ counsel’s arguments concerning the Court’s ability to impose sanctions
  was first required, and—as noted previously—those arguments shifted and
  multiplied with each new brief they filed.
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  on December 14. “Yet, that date came and went with no acknowledgement by

  Plaintiffs and their counsel to Defendants or this Court,” the State Defendants

  argue, forcing the State Defendants and Intervenor-Defendants to file motions to

  dismiss on December 22. (Id. (citing ECF No. 70); see also ECF Nos. 72, 73.)

        During the July 12 motion hearing, Campbell contended that—over the

  course of the litigation—“things change[d].” (ECF No. 157 at Pg ID 5345.) He

  explained, when this case was filed on November 25, counsel “thought honestly

  and truly that the drop-dead date was December 8th, and that’s what [they] said to

  this Court.” (Id. at Pg ID 5346.) Later, “a judge in Wisconsin said,” according to

  Campbell, “Well, why are you guys all hurrying for December 8th. It should be

  December 14th.” (Id.) Campbell continued, because “[s]omebody else came along

  and said, ‘Why not December 14th?’ . . . [counsel] didn’t argue with that” and gave

  the United States Supreme Court that date as the one upon which the case becomes

  moot. (Id.) And on December 14, “three [] [] Plaintiffs were, in their opinion,

  properly elected as electors” and, Campbell further explained, “[t]hat changed

  things, and [then] the Supreme Court’s determination did have life.” (Id.)

        In other words, Plaintiffs’ attorneys maintain that this lawsuit was no longer

  moot after December 14 because three Plaintiffs subjectively believed that they

  had become electors. The attorneys cite no authority supporting the notion that an

  individual’s “[personal] opinion” that he or she is an elector is sufficient to support

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  the legal position that the individual is in fact an elector. Of course, such a belief is

  contrary to how electors are appointed in Michigan. See Mich. Comp. Laws

  § 168.42. In any event, Plaintiffs’ attorneys fail to provide a rational explanation

  for why this event breathed life into this action. Moreover, prior to the July 12

  hearing, Plaintiffs never told anyone about this newly-formed subjective belief.

  They did not tell this Court that the case would no longer be moot after December

  8, despite telling this Court the exact opposite when filing this lawsuit on

  November 25. And they did not tell the Supreme Court that the case would no

  longer be moot after December 14, despite telling that Court the exact opposite on

  December 11. The fact that it was never shared suggests that counsel’s argument

  as to why the case had to be pursued after December 14 is contrived.

        Plaintiffs’ attorneys proffer several additional unpersuasive arguments.

  First, citing Beverly v. Shermetta Legal Grp., No. 2:19-CV-11473, 2020 WL

  2556674 (E.D. Mich. May 20, 2020), they argue that the act of filing the initial

  complaint is not enough to warrant sanctions under § 1927. (ECF No. 85 at Pg ID

  3887, 3890, 3894; ECF No. 93 at Pg ID 4071; ECF No. 112 at Pg. ID 4609, 4625-

  26; ECF No. 161 at Pg ID 5808-09; ECF No. 165 at Pg ID 6572.) This argument

  misses the crux of opposing counsel’s argument for § 1927 sanctions, which is that

  Plaintiffs’ counsel multiplied proceedings by failing to dismiss the case when their

  claims became moot on December 14 (if not earlier) and by pursuing their legal

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  claims even after the Court issued its opinion clearly informing Plaintiffs and their

  counsel that their legal claims were weak and lacked factual support.

        Second, Plaintiffs’ counsel contend that they “moved as expeditiously as

  possible from the outset through the termination of this proceeding” and “had not

  injected new legal claims or evidence after this Court’s December 7, 2020[] Order

  denying the TRO Motion.” (ECF No. 85 at Pg ID 3893-94; ECF No. 112 at Pg ID

  4625.) Even if true, it misses the point as to why counsel unreasonably and

  vexatiously multiplied the proceedings. “[I]f events that occur subsequent to the

  filing of a lawsuit . . . deprive the court of the ability to give meaningful relief, then

  the case is moot and must be dismissed.” Sullivan v. Benningfield, 920 F.3d 401,

  410 (6th Cir. 2019) (quoting Ailor v. City of Maynardville, 368 F.3d 587, 596 (6th

  Cir. 2004)). Here, Plaintiffs conceded that their claims were moot after December

  14. Yet, in the month that followed, Plaintiffs refused to voluntarily dismiss their

  claims, forcing Defendants to file their motions to dismiss and the Court to decide

  Plaintiffs’ motion for additional time to respond to the motions to dismiss, which

  Plaintiffs ultimately did not do.27 In the end, Plaintiffs’ attorneys prolonged the


  27
    Notably when the State Defendants sought concurrence in their Motion to
  Dismiss on December 22 (ECF No. 105-3 at Pg ID 4432), Plaintiffs’ counsel
  responded that they were “not in a position to respond to [the State Defendants’]
  request until [the] appeals [before the Sixth Circuit and United States Supreme
  Court] are decided,” and noted that “[they] do not believe the district court has
  jurisdiction to consider [the State Defendants’] motion while the case is on

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  inevitable and “caused both [the State Defendants and Intervenor-Defendants] and

  the [C]ourt to waste resources” in the meantime. Morris v. City of Detroit Water &

  Sewage Dep’t, 20 F. App’x 466, 468 (6th Cir. 2001); see also Andretti v. Borla

  Performance Indus., Inc., 426 F.3d 824, 835 (6th Cir. 2005) (affirming impositions

  of sanctions where attorney “refus[ed] to voluntarily dismiss the count and forc[ed]

  [opposing counsel] to pursue a dispositive motion in order to have the claim

  dismissed”); Davis v. Detroit Downtown Dev. Auth., 782 F. App’x 455, 458 (6th

  Cir. 2019).

        Finally, Plaintiffs’ attorneys contend that the facts and outcome of several

  cases cited by the State Defendants in support of § 1927 sanctions are

  distinguishable. (ECF No. 112 at Pg ID 4627-32.) Plaintiffs’ attorneys distinguish

  Ridder because there, unlike here, “an attorney pursued . . . a claim for five years

  without offering any evidence.” (Id. at Pg ID 4629.) But this does not matter:

  Forcing Defendants and Intervenor-Defendants to file any pleading or brief at any



  appeal.” (Id.) Of course, because neither this Court, the Sixth Circuit, nor the
  United States Supreme Court had entered a stay—and Plaintiff had not moved for
  one in any court—this Court retained its jurisdiction to consider the Motion to
  Dismiss. See Zundel v. Holder, 687 F.3d 271, 282 (6th Cir. 2012) (“[A]n appeal
  from an order granting or denying a preliminary injunction does not divest the
  district court of jurisdiction to proceed with the action on the merits.”) And for
  some reason, Plaintiffs eventually voluntarily dismissed this lawsuit while it
  remained on appeal in the Sixth Circuit and Supreme Court, even though they
  previously refused to concur as to Defendants’ motions to dismiss because it was
  on appeal in those courts.
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  point after Plaintiffs’ claims became moot required them to file one pleading or

  brief too many. Andretti, 426 F.3d at 835. Plaintiffs’ attorneys also take issue with

  the State Defendants’ use of Big Yank, pointing out that the court stated—

  according to Plaintiffs’ counsel—that “the bad faith exception requires that the

  district court make actual findings of fact that demonstrate that the claims were . . .

  pursued for an improper purpose.” (ECF No. 112 at Pg ID 4630 (citing Big Yank,

  125 F.3d at 314).) But the portion of the Big Yank opinion cited discusses a court’s

  inherent authority to sanction, not sanctions under § 1927 as pursued by the State

  Defendants. Plaintiffs’ counsel’s contention as to the three remaining cases—

  Salkil, 458 F.3d 520, Jones, 789 F.2d 1225, and In re Ruben, 825 F.2d 1225—are

  plainly meritless and worthy of no further discussion. (See ECF No. 112 at Pg ID

  4627-29.)

        The Court finds that Plaintiffs’ counsel unreasonably and vexatiously

  multiplied the proceedings in this case and their arguments to the contrary are

  unavailing.




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        B.     Whether Plaintiffs’ Counsel Violated Rule 11

               1.    Whether Plaintiffs’ counsel submitted claims, defenses, or
                     other legal contentions not warranted by existing law or by
                     a nonfrivolous argument for extending, modifying, or
                     reversing existing law or for establishing new law in
                     violation of Rule 11(b)(2)

                     a)     Counsel’s presentment of claims not warranted by
                            existing law or a nonfrivolous argument for
                            extending, modifying, or reversing existing law

        The Court said it before and will say it again: At the inception of this

  lawsuit, all of Plaintiffs’ claims were barred by the doctrines of mootness, laches,

  and standing, as well as Eleventh Amendment immunity. (See ECF No. 62 at Pg

  ID 3302-24.) Further, Plaintiffs’ attorneys did not provide a nonfrivolous

  argument for extending, modifying, or reversing existing law or for establishing

  new law to render their claims ripe or timely, to grant them standing, or to avoid

  Eleventh Amendment immunity. The same can be said for Plaintiffs’ claims under

  the Elections and Electors, Equal Protection, and Due Process Clauses, and the

  alleged violations of the Michigan Election Code.28 Finally, the attorneys have not



  28
    There is no reason to repeat what the Court already has stated regarding the legal
  merit of Plaintiffs’ claims under the Elections, Electors, and Equal Protection
  Clauses. (See ECF No. 62 at Pg ID 3324-28.) The briefs filed by the State
  Defendants and Intervenor-Defendants provide further detail as to why those
  claims, as well as Plaintiffs’ Due Process and Michigan Election Code claims, are
  legally flawed and why Plaintiffs and their counsel knew or should have known
  this to be the case.

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  identified any authority that would enable a federal court to grant the relief sought

  in this lawsuit.

         Plaintiffs asked this Court to enjoin the State Defendants from sending

  Michigan’s certified results to the Electoral College (ECF No. 6 at Pg ID 84-86);

  but as reported publicly, Governor Whitmer had already done so before Plaintiffs

  filed this lawsuit.29 Plaintiffs sought the impoundment of all voting machines in

  Michigan (id. at Pg ID 86); however, those machines are owned and maintained by

  Michigan’s local governments, which are not parties to this lawsuit. Mich. Comp.

  Laws §§ 168.37, .37a, .794a. Plaintiffs demanded the recount of absentee ballots

  (ECF No. 6 at Pg ID 85), but granting such relief would have been contrary to

  Michigan law as the deadline for requesting and completing a recount already had

  passed by the time Plaintiffs filed suit. Mich. Comp. Laws § 168.879. Further, a

  recount may be requested only by a candidate. Id. And while Plaintiffs requested

  the above relief, their ultimate goal was the decertification of Michigan’s

  presidential election results and the certification of the losing candidate as the

  winner—relief not “warranted by existing law or a nonfrivolous argument for




  29
    See Governor Gretchen E. Whitmer, State of Michigan: Office of the Governor,
  Certificate of Ascertainment of the Electors of the President and Vice President of
  the United States of America (Nov. 23, 2020, 5:30 PM), https://perma.cc/NWS4-
  9FAB; Governor Gretchen Whitmer (@GovWhitmer), Twitter (Nov. 24 2020,
  12:04 PM), https://perma.cc/22DF-XJRY.
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  extending, modifying, or reversing existing law or for establishing new law.” Fed.

  R. Civ. P. 11(b)(2).

        While courts do have the authority to grant injunctive relief affecting

  conduct related to elections, no case suggests that courts possess the authority to

  issue an injunction of the scope sought here. Plaintiffs’ attorneys maintain that the

  strongest case is Bush v. Gore, 531 U.S. 98 (2000). There, however, the Supreme

  Court was asked neither to order a recount nor to decertify Florida’s presidential

  election results. Instead, the Court was asked to stop a recount ordered by the

  Florida Supreme Court, which infringed the State’s legislatively enacted scheme.

  Bush, 531 U.S. at 532-33. Ultimately, the Court halted the Florida recount of the

  presidential election to allow the previously certified vote results to stand, id.,

  which had declared President Bush the winner in the State.30

        At the July 12 hearing, Plaintiffs’ counsel pointed for the first time to the

  Supreme Court’s decision in United States v. Throckmorton, 98 U.S. 61 (1878), as

  supporting this Court’s authority to take—it seems the attorneys are suggesting—

  any equitable action in connection with the 2020 presidential election. (ECF No.

  157 at Pg ID 5335.) Apparently Throckmorton’s quotation of the maxim “fraud

  vitiates everything” is a refrain that has been oft-repeated on social media by those


  30
    Notably, this was a recount sought by a candidate in accordance with Florida’s
  contest provisions. Bush, 531 U.S. at 528.

                                             55
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  who question the results of the 2020 presidential election and believe Former

  President Trump should be declared the winner.31, 32 (ECF No. 164-8.) The City is

  correct that Plaintiffs’ counsel’s citation to Throckmorton is puzzling, both because

  the case relates to a nineteenth-century land grant and has nothing to do with

  election law and because the Supreme Court held that the grant could not be

  collaterally attacked on the basis that the judgment was procured by fraud. 98 U.S.

  at 68. Simply put, the case does not support Plaintiffs’ legal contentions directly or

  even by extension. Yet counsel’s citation to Throckmorton is enlightening in that

  it reflects, as the City puts it, “that this suit has been driven by partisan political

  posturing, entirely disconnected from the law” and “is the dangerous product of an

  online feedback loop, with these attorneys citing ‘legal precedent’ derived not from



  31
    (See ECF No. 164-8 at Pg ID 2 (listing Twitter posts that state, among other
  things, that (i) “[A]ny fraud located . . . constitutes nullification of the presidential
  contest. This means, Trump wins by default because of the vote switching by
  Dominion Machines. Look up Throckmorton 1878.”; (ii) “[F]raud will
  DISQUALIFY Biden completely and mean that Trump will be the winner of all 50
  states . . . . There can be no other outcome. ‘Fraud vitiates everything’ US v.
  Throckmorton . . . .”; (iii) “[F]raud vitities everything. Meaning one state commits
  voter fraud they all go down! So DJTrump wins the 2020 election.”; and (iv)
  “Fraud vitiates everything it touches. [THROCKMORTON] . . . . Thus the
  Biden/Harris ‘swearing in’ is negated, quashed annulled, invalidated, revoked and
  abrogated.”).)
  32
    Of course, the Supreme Court did not hold in Throckmorton that “fraud vitiates
  everything”; rather, it merely quoted this phrase from a treatise and then held that,
  in fact, fraud did not justify overturning a federal district court’s 20-year-old
  decree. 98 U.S. at 65, 68.
                                             56
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  a serious analysis of case law, but from the rantings of conspiracy theorists sharing

  amateur analysis and legal fantasy in their social media echo chambers.” (ECF No.

  164 at Pg ID 6143.)

        It is not lost upon the Court that the same claims and requested relief that

  Plaintiffs’ attorneys presented here were disposed of, for many of the same

  reasons, in Michigan courts33 and by judges in several other “battleground”

  jurisdictions where Plaintiffs’ counsel sought to overturn the election results 34.

  The fact that no federal district court considering the issues at bar has found them

  worthy of moving forward supports the conclusion that Plaintiffs’ claims are

  frivolous.




  33
    Op. & Order, Costantino, No. 20-014780-AW (Wayne Cnty. Cir. Ct. filed Nov.
  13, 2020); Donald J. Trump for President, Inc. v. Sec’y of State, Nos. 355378,
  355397, 2020 Mich. LEXIS 2131 (Mich. Ct. App. Dec. 11, 2020), appeal denied
  951 N.W.2d 353 (Mich. 2020).
  34
    See 12/7/20 Tr., Pearson v. Kemp, No. 1:20-cv-04809 (N.D. Ga. filed Dec. 8,
  2020), ECF No. 79 at Pg 41-44; Wood v. Raffensperger, 501 F. Supp. 3d 1310
  (N.D. Ga. 2020), aff’d 981 F.3d 1307 (11th Cir. 2020); Feehan v. Wis. Elections
  Comm’n, 506 F. Supp. 3d 596 (E.D. Wis. 2020); Bowyer v. Ducey, 506 F. Supp. 3d
  699 (D. Ariz. 2020).

                                            57
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                        b)    Counsel’s contention that acts or events violated
                              Michigan election law (when the acts and events, even
                              if they occurred, did not)

           Plaintiffs alleged that certain acts or events violated the Michigan Election

  Code when, in fact, they did not.

           To support the allegation that Defendants violated Michigan election laws

  by accepting “unsecured ballots . . . without any chain of custody,”35 the Amended

  Complaint states that Whitney Meyers “observed passengers in cars dropping off

  more ballots than there were people in the car.”36 But when the Court asked

  Plaintiffs’ counsel whether individuals other than the voter can drop off a ballot in

  Michigan, Campbell answered in the affirmative. (ECF No. 157 at Pg ID 5486.)

  And of course, anyone easily could have learned this by consulting Michigan law.

  See Mich. Comp. Laws § 168.764a (explaining at Step 5(c) that a household

  member or family member (as defined by Michigan law) may return a voter’s

  absentee ballot). It seems to the Court, then, that Plaintiffs’ counsel knew or

  should have known that this conduct did not violate existing state law.



  35
       (ECF No. 6 at Pg ID 879 ⁋ 15(A), 943 ⁋ 190(k) (citing IIC).)
  36
    (See IIC - “Additional Violations of Michigan Election Code That Caused
  Ineligible, Illegal or Duplicate Ballots to Be Counted,” Subsection 7 - “Election
  Workers Accepted Unsecured Ballots, without Chain of Custody, after 8:00 PM
  Election Day Deadline,” ECF No. 6 at Pg ID 906 ⁋ 101 (referencing Meyers Aff.,
  ECF No. 6-3 at PDF Pg 130-31).)

                                              58
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        The Amended Complaint further claims that Michigan election laws were

  violated because ballots that lacked postmarks were counted.37, 38 But when the

  Court asked Plaintiffs’ attorneys whether Michigan absentee ballots must be

  received through U.S. mail—and therefore postmarked—to be counted, counsel

  went on about not being able to “rely on the Secretary of State’s guidance.” (ECF

  No. 157 at Pg ID 5468.) Noticeably absent from that response, however, was an

  answer to the Court’s question. Tellingly, when the City’s counsel stated that

  ballots are not required to be mailed or postmarked in Michigan—as they “are

  often handed in by hand”; “[via] boxes in front of clerk’s offices by hand”; and

  sometimes “right across the desk in the clerk’s office” (id. at Pg ID 5470)—

  Plaintiffs’ counsel did not object to or refute this recitation of the law. See Mich.

  Comp. Laws § 168.764a (explaining that absentee ballots may be delivered




  37
    (ECF No. 6 at Pg. ID 879 ⁋ 15(C), 942 ⁋ 190(h) (citing IIC); see IIC -
  “Additional Violations of Michigan Election Code That Caused Ineligible, Illegal
  or Duplicate Ballots to Be Counted,” Subsection 4 - “Election Officials Counted
  Ineligible Ballots with No Signatures or No Dates or with No Postmark on Ballot
  Envelope,” ECF No. 6 at Pg ID 904 ⁋ 96 (referencing Brunell Aff., ECF No. 6-3 at
  PDF Pg 35-36; Spalding Aff., ECF No. 6-3 at PDF Pg 61-62; and Sherer Aff., ECF
  No. 6-3 at PDF Pg 126-28).)
  38
    When one searches through the unindexed affidavits attached as Exhibit 3 to
  Plaintiffs’ pleading and eventually locates these affidavits, however, one finds that
  none of the affiants state that ballots without postmarks were counted. (See ECF
  No. 6-3 at PDF Pg 35-36, 61-62, 126-28.)
                                             59
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  “[p]ersonally to the office of the clerk, to the clerk, or to an authorized assistant of

  the clerk, or to a secure drop box”).

           To support the allegation that Defendants “count[ed] ineligible ballots—and

  in many cases—multiple times,” in violation of Michigan election law,39 the

  Amended Complaint cites to several affidavits in which the affiants state that

  batches of ballots were repeatedly run through the vote tabulation machines40.

  When the Court asked whether Plaintiffs’ counsel inquired as to why a stack of

  ballots might be run through tabulation machines more than once, Plaintiffs’

  counsel did not answer the Court’s question and instead proclaimed that “ballots

  are not supposed to be put through more than once. Absolutely not. That would

  violate Michigan law.” (ECF No. 157 at Pg ID 5462.) But bafflingly, Plaintiffs’

  counsel did not offer a cite to the law violated, and counsel did not identify such a

  law in the Amended Complaint either. However, the affidavit of Christopher

  Thomas, Senior Advisor to the Detroit City Clerk, filed in Costantino (“Thomas

  Affidavit”), explained that “ballots are often fed through the high-speed reader



  39
       (ECF No. 6 at Pg. ID 879 ⁋ 15(B), 942 ⁋ 190(g) (citing IIC).)
  40
     (See IIC - “Additional Violations of Michigan Election Code That Caused
  Ineligible, Illegal or Duplicate Ballots to Be Counted,” Subsection 2 - “Ineligible
  Ballots Were Counted—Some Multiple Times,” ECF No. 6 at Pg ID 903 ⁋ 94
  (referencing Helminen Aff., Waskilewski Aff., Mandelbuam Aff., Rose Aff., Sitek
  Aff., Posch Aff., Champagne Aff., and Bomer Aff.).)

                                             60
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  more than once” “as a routine part of the tabulation process.” (ECF No. 78-14 at

  Pg ID 3772 ¶ 20.) And he detailed a myriad of reasons why this may be necessary,

  including “if there is a jam in the reader” or “if there is a problem ballot (e.g.,

  stains, tears, stray markings, . . . etc.) in a stack.” 41 (Id.)

        At the July 12 hearing, Kleinhendler told the Court that it was “completely

  irrelevant” whether the conduct Plaintiffs claimed was violative of Michigan law

  was actually unlawful. This is because, counsel argued, the conduct “raise[d] a

  suspicion” and what was significant was the mere chance for misfeasance to

  occur.42 (ECF No. 157 at Pg ID 5484.) But litigants and attorneys cannot come to

  federal court asserting that certain acts violate the law based only upon an

  opportunity for—or counsel and the litigant’s suspicions of—a violation.




  41
    Thomas goes on to explain: “To an untrained observer[,] it may appear that the
  ballot is being counted twice, however, the election worker will have cancelled the
  appropriate count on the computer screen. Any human error in the process would
  be identified during the canvass. If not, the number of voters at the absent voter
  counting board would be dramatically different than the number of counted votes.”
  (ECF No. 78-14 at Pg ID 3772 ¶ 20.)
  42
     To make his point, Kleinhendler used the analogy of handing someone an open
  can of Coke and assuring the recipient that a drink had not been taken from it.
  (ECF No. 157 at Pg ID 5484.) But it is just as plausible that the can had been
  sipped before delivery, as it is plausible that it had not been. A “pleading must
  contain something more than a statement of facts that merely creates a suspicion of
  a legally cognizable right of action.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,
  556 (2007) (citation, internal quotation marks, brackets and ellipsis omitted).

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                     c)     Counsel’s failure to inquire into the requirements of
                            Michigan election law

        Plaintiffs alleged that certain acts or events constituted violations of the

  Michigan Election Code when, in fact, Plaintiffs’ counsel failed to make any

  inquiry into whether such acts or events were in fact unlawful.

        In light of Plaintiffs’ allegation that Defendants violated the Michigan

  Election Code by permitting ballots to arrive at the TCF Center “not in sealed

  ballot boxes,” “without any chain of custody,” and “without envelopes”43 and

  because the Amended Complaint does not identify a provision in the Michigan

  Election Code prohibiting the actions about which Plaintiffs complain44, the Court

  asked Plaintiffs’ attorneys at the July 12 hearing about their understanding

  regarding Michigan’s ballot-bin requirements. (Id. at Pg ID 5478-79.) Counsel’s

  response: “[W]e do not purport to be experts in Michigan’s process,” (id. at Pg ID

  5479-80), and, they argued, the affidavit that supported this allegation—that of

  Daniel Gustafson (“Gustafson Affidavit”)—was copied and pasted from


  43
    (ECF No. 6 at Pg. ID 879 ⁋ 15(F), 943 ⁋ 190(k) (citing IIC); see IIC -
  “Additional Violations of Michigan Election Code That Caused Ineligible, Illegal
  or Duplicate Ballots to Be Counted,” Subsection 7 - “Election Workers Accepted
  Unsecured Ballots, without Chain of Custody, after 8:00 PM Election Day
  Deadline,” ECF No. 6 at Pg ID 905-06 ⁋ 100 (quoting Gustafson Aff., ECF No. 6-
  4 at PDF Pg 48-49).)
  44
     (See ECF No. 6 at Pg ID 878 ⁋ 14(C) (advancing this specific allegation but
  citing no Michigan Election Code provision violated); id. at Pg ID 879 ⁋ 15(F)
  (same); id. at Pg ID 905-06 ⁋ 100 (same); id. at Pg ID 943 ⁋ 190(k) (same).)
                                          62
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  Costantino (id.). These evasive and non-responsive answers to the Court’s direct

  questions amount to an admission that Plaintiffs’ counsel did not bother to find out

  what the Michigan Election Code requires, and whether the acts alleged to

  constitute violations of the Michigan Election Code were actually prohibited.

        In Costantino—which was decided approximately two weeks before

  Plaintiffs filed the instant lawsuit—Wayne County Circuit Court Judge Timothy

  M. Kenny credited the Thomas Affidavit (ECF No. 78-11 at Pg ID 3738-39, 3742,

  3745)—thereby informing Plaintiffs’ counsel that what Gustafson observed did not

  in fact violate Michigan Election Code, or at a minimum putting counsel on notice

  that there was a duty to inquire further. And even if Plaintiffs’ counsel lacked

  expertise as to the Michigan Election Code, they undoubtedly were required to be

  familiar enough with its provisions to confirm that the conduct they asserted

  violated that code in fact did.

        The Court finds Plaintiffs’ counsel’s arguments to the contrary unavailing.

  First, the attorneys assert that neither opposing counsel nor the Thomas Affidavit

  took issue with the facts as outlined in the Gustafson Affidavit (ECF No. 157 at Pg

  ID 5481-82) and, therefore, the Gustafson Affidavit does not suggest that

  Plaintiffs’ counsel engaged in any conduct worthy of sanctions. This misses the

  point. The sanctionable conduct is not based on whether the facts described in the

  Gustafson Affidavit are true or false. What is sanctionable is counsel’s allegation

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  that violations of the Michigan Election Code occurred based on those facts,

  without bothering to figure out if Michigan law actually prohibited the acts

  described.

        Second, Plaintiffs’ counsel argued that permitting ballots to be handled and

  transported in the manner described in the Gustafson Affidavit “raises a suspicion”

  and “[w]hether [such acts are] required under Michigan law or not[] [is]

  completely irrelevant.” (Id. at Pg ID 5484.) But the Amended Complaint

  repeatedly asserts that Defendants violated the Michigan Election Code and

  Plaintiffs’ state law, Equal Protection, Due Process, and Electors and Elections

  Clauses claims are based on these alleged violations. (See, e.g., ECF No. 6 at Pg

  ID 877, 879, 892, 903, 937-48, 953, 955.) And, again, a mere “suspicion” is not

  enough—this is especially so when neither the litigant nor his or her counsel has

  bothered to figure out exactly what the law is or what it permits.

        For the reasons discussed in the three subsections above, the Court

  concludes that Plaintiffs’ attorneys presented claims not warranted by existing law

  or a nonfrivolous argument for extending, modifying, or reversing existing law.

               2.    Whether Plaintiffs’ counsel presented pleadings for which
                     the factual contentions lacked evidentiary support or, if
                     specifically so identified, would likely have evidentiary
                     support in violation of Rule 11(b)(3)

        Before analyzing whether Plaintiffs’ counsel violated Rule 11(b)(3), the

  Court pauses to answer two questions.
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                     The sanctionable conduct under Rule 11(b)(3)

        Plaintiffs’ attorneys argue that they genuinely believed the factual

  allegations in this lawsuit, and otherwise filed this suit and the accompanying

  documents in good faith. (See ECF No. 157 at Pg ID 5415, 5418, 5419, 5492-93,

  5501.) They also argue that the affiants genuinely believed the same and

  submitted their affidavits also in good faith. (Id. at Pg ID 5403.) Because all of

  this was done in good faith, counsel contends, they should not be sanctioned.

        Of course, an “empty-head” but “pure-heart” does not justify lodging

  patently unsupported factual assertions.45 And the good or bad faith nature of

  actions or submissions is not what determines whether sanctions are warranted

  under Rule 11(b)(3). What the City claims and the Court agrees is sanctionable as

  a violation of the rule is the filing of pleadings claiming violations of the Michigan

  Election Code, Equal Protection Clause, Due Process Clause, and Electors and

  Elections Clauses where the factual contentions asserted to support those claims

  lack evidentiary support. The Court spent significant time during the July 12

  hearing inquiring about the various reports and affidavits Plaintiffs attached to their

  pleadings not necessarily because Plaintiffs’ counsel may have filed this lawsuit in


  45
    See Fed. R. Civ. P. 11 Advisory Committee Notes (1993 Amendment) (noting
  that Rule 11’s objective standard is “intended to eliminate any ‘empty-head pure-
  heart’ justification for patently frivolous arguments”); Tahfs, 316 F.3d at 594 (“A
  good faith belief in the merits of a case is insufficient to avoid sanctions.”).

                                            65
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  bad faith, and not necessarily because the affiants may have submitted their

  affidavits in bad faith. Rather, the Court did so because—as discussed below—no

  reasonable attorney would accept the assertions in those reports and affidavits as

  fact or as support for factual allegations in a pleading when based on such

  speculation and conjecture. And no reasonable attorney would repeat them as fact

  or as support for a factual allegation without conducting the due diligence inquiry

  required under Rule 11(b).

        To be clear, as to Rule 11(b)(3), the Court is not concerned with whether

  counsel’s conduct was done in bad faith.46 The Court is concerned only with what

  the reports and affidavits say and reveal on their face, and what Plaintiffs’ counsel

  should (or should not) have done before presenting them in light of what is

  revealed on their face.47



  46
    This does not mean, however, that violating Rule 11(b)(3) by presenting
  pleadings for which the factual contentions lacked evidentiary support cannot be
  done in bad faith or for an improper purpose. If it is, this would of course
  constitute a violation of Rule 11(b)(1). See infra, Section IV, Subsection B, Part
  3—“Whether Plaintiffs’ counsel acted with an improper purpose in violation of
  Rule 11(b)(1).”
  47
     Plaintiffs’ attorneys further contend that they did more than was required by
  attaching this “evidence” to their pleadings. (ECF No. 157 at Pg ID 5534.) True,
  Plaintiffs were not required to attach evidence to support their factual allegations;
  but, they did. Therefore, they had an obligation to scrutinize the contents and
  doing so would have revealed that key factual assertions made in their pleading
  lacked evidentiary support.

                                            66
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                              No evidentiary hearing is needed

           Plaintiffs’ attorneys contend that “[t]he proper method for evaluating

  affidavits is an evidentiary hearing” during which a court tests the veracity of the

  affiants and, without one, the Court cannot sanction counsel. (See, e.g., ECF No.

  161 at Pg ID 5815, 5816 n.10; ECF No. 157 at Pg ID 5491-93.) However, the

  affiants’ credibility and the truth or falsity of their affidavits have no bearing on

  what the Court finds sanctionable under Rule 11(b)(2) and (3).

           Instead, what is sanctionable under Rule 11(b)(2) as discussed above is,

  among other things, (i) asserting that acts or events violated Michigan election law,

  when the acts and events (even if they occurred) did not and (ii) failing to inquire

  into the requirements of Michigan election law. What is sanctionable under Rule

  11(b)(3) as discussed below is (i) presenting factual assertions lacking evidentiary

  support; (ii) presenting facts taken from affidavits containing speculation and

  conjecture because, at no stage during the litigation process, would such

  “evidence” count as evidentiary support for a factual allegation; (iii) failing to ask

  questions of affiants who submitted affidavits that were central to the factual

  allegations that the affidavits supported; (iv) failing to inquire (sufficiently, if at

  all) into recycled affidavits first used by different attorneys in earlier election-

  challenge lawsuits; and (v) failing to inquire into information readily discernible as

  false.

                                              67
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        Because ascertaining whether Plaintiffs’ counsel committed any Rule 11(b)

  (2) or (3) infraction does not turn on the veracity of the affiants and the Court

  obtained the information it needed during the hearing and via the sanctions

  briefing, an evidentiary hearing is of no use.48

                      a)     Counsel’s failure to present any evidentiary support
                             for factual assertions

        Plaintiffs’ counsel failed to present any evidence to support their allegation

  of “illegal double voting.” (See ECF No. 6 at Pg ID 903 ¶ 93.) To support this

  factual assertion, Plaintiffs pointed to a single piece of “evidence”: the affidavit of

  Jessy Jacob (“Jacob Affidavit”).49 That affidavit states in part: “I observed a large

  number of people who came to the satellite location to vote in-person, but they had




  48
     Plaintiffs’ attorneys complain that the Court focused on only a limited number of
  affidavits at the July 12 motion hearing, when more were laced throughout their
  960-page Amended Complaint. (ECF 157 at Pg ID 5450-51.) However, as the
  Court noted at the motion hearing, the affidavits focused on were often the only
  evidence cited to support key factual assertions in Plaintiffs’ pleadings. (Id. at Pg
  ID 5358, 5410, 5420, 5428, 5435, 5448, 5452.) And, as discussed below, all of the
  affidavits the Court references in this Opinion & Order’s Rule 11(b)(3) analysis
  were in fact the only pieces of evidence offered to support the relevant factual
  allegation.
  49
     (ECF No. 6 at Pg. ID 942 ⁋ 190(f) (citing IIC); see IIC - “Additional Violations
  of Michigan Election Code That Caused Ineligible, Illegal or Duplicate Ballots to
  Be Counted,” Subsection 1 - “Illegal Double Voting,” ECF No. 6 at Pg ID 903 ⁋ 93
  (referencing Jacob Aff., ECF No. 6-4 at PDF Pg 36-38).)

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  already applied for an absentee ballot.”50 (ECF No. 6-4 at PDF Pg 37 (emphasis

  added).) 51 Of course, applying for an absentee ballot is not evidence that someone

  voted via an absentee ballot, and when the Court highlighted this lack of evidence

  as to “double voting” during the hearing, Plaintiffs’ counsel responded: “I think

  there’s inferences that can be drawn, and it should not shock this Court that

  somebody could show up, after having asked for an absentee ballot … and then

  show up and vote again.” (ECF No. 157 at Pg ID 5454-55 (emphasis added).)

        It does not shock the Court that a Michigan resident can request an absentee

  ballot and thereafter decide to vote in person. Indeed, Michigan law says that

  voters can. Mich. Comp. Laws § 168.769(1) (“An absent voter may vote in person

  within his or her precinct at an election, notwithstanding that he or she applies for

  an absent voter ballot and the ballot is mailed or otherwise delivered to the absent

  voter by the clerk” if, “[b]efore voting in person,” “the absent voter [] return[s] the


  50
     Jacob does claim that people came to vote in person at the satellite location
  where she worked who had already applied for an absentee ballot, and that those
  individuals voted without returning the mailed absentee ballot or signing an
  affidavit that the ballot had been lost. (ECF No. 6-4 at PDF Pg 37 ¶ 10.) Michigan
  law makes it a felony to vote both in person and absentee. See Mich. Comp. Laws
  § 168.769(4). Of course, Jacob does not state that these individuals voted in
  person and absentee. As such, her affidavit in fact does not plausibly support
  “illegal double voting.” (ECF No. 6 at Pg ID 903.)
  51
    Some of the documents filed by the parties contain illegible docket headers. In
  such instances, the Court references the “PDF” page numbers instead of the “Page
  IDs.”

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  absent voter ballot.”). But the Court is concerned that Plaintiffs’ attorneys believe

  that a Michigan resident’s choice to do so serves as circumstantial evidence that

  the Michigan resident “double voted.” It does not. Inferences must be reasonable

  and come from facts proven, not speculation or conjecture. United States v.

  Catching, 786 F. App’x 535, 539 (6th Cir. 2019) (citations omitted) (explaining

  that “reasonable inferences from the evidence” are allowed but not “mere

  speculative inferences”); see also id. (quoting Cold Metal Process Co. v. McLouth

  Steel Corp., 126 F.2d 185, 188 (6th Cir. 1942) (“An inference is but a reasonable

  deduction and conclusion from proven facts.”)).

                     b)     Counsel’s presentment of conjecture and speculation
                            as evidentiary support for factual assertions

        Plaintiffs’ counsel presented affidavits that were based on conjecture,

  speculation, and guesswork.

        To support the allegation that “unsecured ballots arrived at the TCF Center

  loading garage, not in sealed ballot boxes, without any chain of custody, and

  without envelopes, after the 8:00 PM Election Day deadline,” Plaintiffs quote the




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  affidavit of Matt Ciantar (“Ciantar Affidavit”),52, 53 which is a masterclass on

  making conjectural leaps and bounds:

               The afternoon following the election[,] as I was taking
               my normal dog walk (mid-afternoon), I witnessed a dark
               van pull into the small post office located in downtown
               Plymouth, MI. I witnessed a young couple . . . pull into
               the parking lot . . . and proceed to exit their van (no
               markings) . . . and open[] up the back hatch and
               proceed[] to take 3-4 very large clear plastic bags out . . .
               and walk them over to a running USPS Vehicle that
               appeared as if it was “waiting” for them. . . .

               There was no interaction between the couple and any
               USPS employee which I felt was very odd. . . . They did
               not walk inside the post office like a normal customer to
               drop of[f] mail. It was as if the postal worker was told to
               meet and standby until these large bags arrived. . . .

               [T]he bags were clear plastic with markings in black on
               the bag and on the inside of these clear bags was another
               plastic bag that was not clear (could not see what was
               inside) . . . . [There were] what looked like a black
               security zip tie on each back [sic] as if it were “tamper
               evident” type of device to secure the bag. . . . [B]y the
               time I realized I should take pictures of the bags once I
               noticed this looked “odd[,]” they had taken off.


  52
    (ECF No. 6 at Pg ID 943 ⁋ 190(k) (citing IIC); see IIC - “Additional Violations
  of Michigan Election Code That Caused Ineligible, Illegal or Duplicate Ballots to
  Be Counted,” Subsection 7 - “Election Workers Accepted Unsecured Ballots,
  without Chain of Custody, after 8:00 PM Election Day Deadline,” ECF No. 6 at Pg
  ID 906 ⁋ 103 (quoting Ciantar Affidavit, ECF No. 6-7 at Pg ID 1312-14).)
  53
     Plaintiffs also reference the Gustafson and Meyers Affidavits to support this
  allegation. (ECF No. 6 at Pg ID 905-06 ⁋⁋ 100-03.) For the reasons discussed
  above (see supra 58, 63-64), these two affidavits are of little to no evidentiary
  value.
                                            71
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               The other oddity was that [sic] the appearance of the
               couple. After the drop, they were smiling, laughing at
               one another.

               What I witnessed and considered that what could be in
               those bags could be ballots going to the TCF center or
               coming from the TCF center . . . .

  (ECF No. 6-7 at Pg ID 1312-14 (emphasis added).)

        When the Court asked Plaintiffs’ attorneys how any of them, as officers of

  the court, could present this affidavit as factual support of anything alleged in their

  pleadings and Motion for Injunctive Relief, counsel emphatically argued that “[t]he

  witness is setting forth exactly what he observed and [the] information that he

  bases it on. . . . He saw these plastic bags . . . . It is a true affidavit.” (ECF No. 157

  at Pg ID 5488-89.) The Court accepts that the affidavit is true in that Ciantar

  memorialized what he saw at the time. But the Court cannot find it reasonable to

  assert, as Plaintiffs’ attorneys do, that this “shows fraud.” (Id. at Pg ID 5489.)

  Absolutely nothing about this affidavit supports the allegation that ballots were

  delivered to the TCF Center after the Election Day deadline. And even if the Court

  entertained the assertion of Plaintiffs’ counsel that this affidavit “is one piece of a

  pattern” reflecting fraud or Defendants’ violations of Michigan election laws (id.),

  this would be a picture with many holes. This is because a document containing

  the lengthy musings of one dog-walker after encountering a “smiling, laughing”




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  couple delivering bags of unidentified items in no way serves as evidence that state

  laws were violated or that fraud occurred.

           During the hearing, Plaintiffs’ counsel further asserted that “we don’t

  typically rewrite what an affiant says.” (Id. at Pg ID 5490.) That is good. But,

  pursuant to their duties as officers of the court, attorneys typically do not offer

  factual allegations that have no hope of passing as evidentiary support at any stage

  of the litigation.

           To support the allegation that Defendants “fraudulently add[ed] tens of

  thousands of new ballots . . . to the [Qualified Voter File] . . . on November 4,

  2020, all or nearly all of which were votes for Joe Biden,”54 Plaintiffs quote the

  affidavit of Melissa Carone (“Carone Affidavit”),55 which describes “facts” that

  demonstrate no misconduct or malfeasance, and amount to no more than strained

  and disjointed innuendo of something sinister:


  54
       (ECF No. 6 at Pg. ID 942 ⁋ 190(a) (citing IIB).)
  55
    Plaintiffs also reference the affidavit of Andrew Sitto (“Sitto Affidavit”) and
  Robert Cushman (“Cushman Affidavit”) to support this allegation. (ECF No. 6 at
  Pg ID 905-06 ⁋⁋ 100-03.) But as Judge Kenny concluded in Costantino, Sitto’s
  affidavit is “rife with speculation and guess-work about sinister motives” and he
  “knew little about the process of the absentee voter counting board activity.” (ECF
  No. 31-15 at Pg ID 2443.) Indeed, the evidentiary value of the Sitto Affidavit is
  questionable at best. And while the Court does not discuss the Cushman Affidavit
  in this Opinion and Order, the Court notes that Plaintiffs describe the Carone
  Affidavit as “the most probative evidence” of the factual allegation at bar. (ECF
  No. 6 at Pg ID 899 ¶ 84.)

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               There was [sic] two vans that pulled into the garage of
               the counting room, one on day shift and one on night
               shift. These vans were apparently bringing food into the
               building . . . . I never saw any food coming out of these
               vans, coincidently it was announced on the news that
               Michigan had discovered over 100,000 more ballots—not
               even two hours after the last van left.56

  The Amended Complaint calls this an “illegal vote dump.” (ECF No. 6 at Pg ID

  900 ⁋ 84.)

        But nothing described by Carone connects the vans to any ballots; nothing

  connects the illusory ballots to President Biden; and nothing connects the illusory

  votes for President Biden to the 100,000 ballots “coincidently” announced on the

  news as “discovered” in Michigan.57 Yet not a single member of Plaintiffs’ legal

  team spoke with Carone to fill in these speculation-filled gaps before using her




  56
    (See IIB – “Election Workers Fraudulently Forged, Added, Removed or
  Otherwise Altered Information on Ballots, Qualified Voter List and Other Voting
  Records,” Subsection 1 – “Election Workers Fraudulently Added ‘Tens of
  Thousands’ of New Ballots and New Voters in the Early Morning and Evening of
  November 4,” ECF No. 6 at Pg ID 899-900 ⁋ 84 (quoting Carone Affidavit, ECF
  No. 6-5 at Pg ID 1306 ⁋ 8).)
  57
    And nothing in the affidavit enlightens its reader as to what is meant by
  “discovered.”

                                           74
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  affidavit to support the allegation that tens of thousands of votes for President

  Biden were fraudulently added.58, 59 (See ECF No. 157 at Pg ID 5426-28.)

        It is also notable that, when the Court asked Plaintiffs’ counsel whether an

  affiant’s observation of a self-described “coincidence” serves as evidentiary

  support for the allegation that an “illegal vote dump” occurred, Plaintiffs’ counsel

  appeared to say that it was okay in this case because Ramsland “relied on [the

  Carone Affidavit] for . . . his statistical analysis” and “an expert can rely on

  hearsay.” (Id. at Pg ID 5429.) But the problem with the Carone Affidavit does not

  concern hearsay—it concerns conjecture. And surely Plaintiffs’ attorneys cannot

  fail to reasonably inquire into an affiant’s speculative statements and thereafter

  escape their duty to “stop-and-think” before making factual allegations based on

  the statements, simply because their expert did the same. See Fed. R. Civ. P. 11

  Advisory Committee Notes (1993 Amendment) (“The rule continues to require

  litigants to ‘stop-and-think’ before initially making legal or factual contentions.”).




  58
     Without engaging in such an inquiry—much less a reasonable one—counsel’s
  affirmative decision to label the 100,000 ballots discussed on the news—or the
  illusory ballots theoretically removed from two vans—an “illegal vote dump”
  serves as a quintessential example of guesswork laced with bad faith.
  59
    Kleinhendler emphasized during the hearing that Carone “publicly testified . . .
  in Michigan about her findings.” (ECF No. 157 at Pg ID 5427.) It is
  nonsensensical to suggest that supporting a key factual allegation with nothing
  more than speculation is justified because that speculation was repeated publicly.
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        Plaintiffs’ counsel further emphasized that if Carone “[said] things that don’t

  turn out to be entirely accurate, that can be discovered through the processes that

  this Court is very familiar with.” (ECF No. 157 at Pg ID 5429.) The Court

  assumes the attorneys were referring to the discovery process. But here’s the snag:

  Plaintiffs are not entitled to rely on the discovery process to mine for evidence that

  never existed in the first instance. See Goldman v. Barrett, 825 F. App’x 35, 38

  (2d Cir. 2020) (explaining that a plaintiff “may not rely on discovery to

  manufacture a claim that lacks factual support in the first instance” but “may use

  discovery to bolster evidence”).

        And speculation, coincidence, and innuendo could never amount to evidence

  of an “illegal vote dump”—much less, anything else.60




  60
     The Supreme Court has made clear that where there are perfectly plausible
  alternative explanations for an event—here, for example, legally cast ballots
  simply being delivered and counted—a plaintiff’s allegations are not to be
  accepted as true. See Twombly, 550 U.S. at 557 (explaining the “need at the
  pleading stage for allegations plausibly suggesting (not merely consistent with)”
  liability). And of course, the mere fact that the affiant and/or Plaintiffs’ counsel
  opted to use seemingly sinister language to describe an event does not make that
  event sinister, wrongful, unlawful, or fraudulent.

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                        c)    Counsel’s failure to inquire into the evidentiary
                              support for factual assertions

           Plaintiffs’ counsel failed to ask questions of the individuals who submitted

  affidavits that were central to the factual allegations in the pleadings.

           To support the allegation that Defendants permitted “election workers [to]

  change votes for Trump and other Republican candidates,”61 Plaintiffs point to one

  thing—namely, Articia Bomer’s affidavit (“Bomer Affidavit”):

                 I observed a station where election workers were
                 working on scanned ballots that had issues that needed to
                 be manually corrected. I believe some of these workers
                 were changing votes that had been cast for Donald
                 Trump and other Republican candidates.62

  Per the Amended Complaint, this is the only evidence and only “eyewitness

  testimony of election workers manually changing votes for Trump to votes for

  Biden.” (ECF No. 6 at Pg ID 902 ⁋ 91.)

           When the Court asked whether an affiant’s belief that something occurred

  constitutes evidentiary support for that occurrence, Plaintiffs’ counsel stated: “[I]f

  you see it, that would certainly help you to form a belief.” (ECF No. 157 at Pg ID



  61
       (ECF No. 6 at Pg. ID 942 ⁋ 190(d) (citing IIB).)
  62
    (See IIB – “Election Workers Fraudulently Forged, Added, Removed or
  Otherwise Altered Information on Ballots, Qualified Voter List and Other Voting
  Records,” Subsection 4 - “Election Workers Changed Votes for Trump and Other
  Republican Candidate,” ECF No. 6 at Pg ID 902 ⁋ 91 (quoting Bomer Aff., ECF
  No. 6-3 at Pg ID 1008-10) (emphasis added).)
                                         77
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  5450.) The Court then asked: “[D]id anyone inquire as to whether or not [] Bomer

  actually saw someone change a vote?” (Id. at Pg ID 5452.) The Court was met

  with silence. (Id.)

        As an initial matter, an affiant’s subjective belief that an event occurred does

  not constitute evidence that the event in fact occurred. But more importantly,

  during the hearing, Plaintiffs’ counsel conceded that the Bomer Affidavit had

  evidentiary value only if Bomer saw election workers manually changing votes for

  Former President Trump to votes for President Biden. Yet, without asking Bomer

  if she saw such manual changes, Plaintiffs’ counsel submitted her affidavit as

  evidentiary support that such manual changes in fact occurred. This alone fell

  short of counsel’s obligation to conduct a reasonable inquiry and is the very laxity

  that the sanctions schemes are designed to penalize.

        And Plaintiffs’ counsel’s failure to ask this material question—when paired

  with their affirmative decision to label Bomer’s testimony as “eyewitness testimony

  of election workers manually changing votes”—evinces bad faith. Plaintiffs’

  counsel may not bury their heads in the sand and thereafter make affirmative

  proclamations about what occurred above ground. In such cases, ignorance is not

  bliss—it is sanctionable.




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                        d)     Counsel’s failure to inquire into evidentiary support
                               taken from other lawsuits

           As evidentiary support in this case, Plaintiffs’ counsel attached affidavits to

  their pleadings that were submitted in two previously filed election-challenge

  lawsuits without engaging in a reasonable inquiry as to their contents.

           For example, to support the allegation that Defendants “fraudulently add[ed]

  tens of thousands of new ballots and/or new voters to the [Qualified Voter File] . . .

  on November 4, 2020,”63 Plaintiffs quote the Sitto Affidavit64. When the Court

  inquired about factual assertions in the Sitto Affidavit (Id. at Pg ID 5412),

  Kleinhendler responded that “[t]hese were affidavits that were submitted by

  counsel in [Costantino]” (id. at Pg ID 5414-15). Plaintiffs’ attorneys admit to

  similarly lifting the Carone Affidavit from Costantino and filing it in this case as

  evidentiary support without engaging in an independent inquiry as to its merits.65


  63
       (ECF No. 6 at Pg. ID 942 ⁋ 190(a) (citing IIB).)
  64
    (See IIB – “Election Workers Fraudulently Forged, Added, Removed or
  Otherwise Altered Information on Ballots, Qualified Voter List and Other Voting
  Records,” Subsection 1 – “Election Workers Fraudulently Added ‘Tens of
  Thousands’ of New Ballots and New Voters in the Early Morning and Evening of
  November 4,” ECF No. 6 at Pg ID 899 ⁋ 82 (quoting Sitto Aff., ECF No. 6-4 at
  PDF Pg 40-42).)
  65
      (ECF No. 157 at Pg ID 5433 (Ms. Haller: “I would just point out that the
  [Carone Affidavit] . . . [is] documented as a document from the [Costantino] court
  . . . . It is not represented to be a document that was created by us. It is not
  represented to be anything other than what it was, which is a document from a

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  The attorneys admit the same as to the Bomer Affidavit. (Id. at Pg ID 5448-49.)

  And suggest the same as to the Jacob Affidavit. (Id. at Pg ID 5440-45.) In fact,

  almost every (if not every) non-expert affidavit attached to Plaintiffs’ pleadings

  here (see ECF Nos. 6-3 to 6-6, 6-13, 6-14) was filed by other attorneys in prior

  lawsuits. See Complaint Exs. 1-4, Donald J. Trump for President, Inc., No. 1:20-

  cv-01083 (W.D. Mich. filed Nov. 11, 2020), ECF Nos. 1-2 to 1-4; Complaint Exs.

  A-F, Costantino, No. 20-014780 (Wayne Cnty. Cir. Ct. filed Nov. 8, 2020).

        When the Court asked whether Plaintiffs’ counsel inquired as to the

  affidavits copied and pasted from the other cases, Plaintiffs’ counsel dipped and

  dodged the question and did not disclaim the City’s counsel’s assertions that they

  did not. (See, e.g., ECF No. 157 at Pg ID 5440-47, 5452-55.) “[O]ther lawyers

  saw it” and “[t]hey believed it to be appropriate for submission to the Court in that

  circumstance,” Plaintiffs’ attorneys argued. (Id. at Pg ID 5445.) “[Y]ou’ve got to

  be able to trust when something has been submitted by counsel because of the oath

  that we take” knowing that “everybody else within the profession” therefore

  believes that the attorney’s submission “should have tremendous value.” (Id. at Pg

  ID 5419.) Clearly, Plaintiffs’ counsel relied on the assessment of counsel for the




  different court. . . . It is a document that is not hearsay. It is a simple document
  that is a sworn statement from another court that is cited to by our expert, and we
  rely upon it to the extent that it’s cited in the complaint.”).)
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  plaintiffs in other cases as to the affidavits from those cases that Plaintiffs’ counsel

  recycled here.

        This is not okay. The Court remains baffled after trying to ascertain what

  convinced Plaintiffs’ counsel otherwise. “Substituting another lawyer’s judgment

  for one’s own does not constitute reasonable inquiry.” Schottenstein v.

  Schottenstein, 230 F.R.D. 355, 361-62 (S.D.N.Y. 2005); see also Pravic v. U.S.

  Indus.-Clearing, 109 F.R.D. 620, 622 (E.D. Mich. 1986) (holding that counsel’s

  reliance on a memorandum prepared by a separate law firm was not reasonable

  because, among other things, counsel “did no independent research”). In short,

  Plaintiffs’ counsel cannot hide behind the attorneys who filed Costantino or any

  other case to establish that Plaintiffs’ counsel fulfilled their duty to ensure that the

  affidavits they pointed to as evidentiary support for the pleadings here, in fact had

  any chance of ever amounting to evidence.66

        In their supplemental brief in support of their motion for sanctions, the State

  Defendants contend that Plaintiffs’ counsel failed to engage in the requisite pre-

  filing inquiry, pointing to several statements Powell made in an election-related



  66
    Plaintiffs’ attorneys argue that “[t]he court never held an evidentiary hearing in
  Costantino and, as a result, did not properly assess the merits of the action” and
  “[t]his was one of the reasons why the[y] presented affidavits from that action in
  this case.” (ECF No. 161 at Pg ID 5816 n.10.) The point, however, is that
  presenting those affidavits required counsel to first conduct a reasonable inquiry
  into the factual allegations contained therein.
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  defamation case, which is based in part on allegations made in the instant lawsuit.

  (See ECF No. 118-2 at Pg ID 4806.) In a motion to dismiss filed in that case,

  Powell argued that, even if the plaintiffs “attempt[] to impugn the various

  declarations as unreliable[] [or] attack the veracity or reliability of the various

  declarants,” “[l]awyers involved in fast-moving litigation concerning matters of

  transcendent public importance, who rely on sworn declarations, are entitled to no

  less protection” than “[j]ournalists [who] usually repeat statements from sources

  (usually unsworn, often anonymous) on whom they rely for their stories, and

  sometimes those statements turn out not to be true.” (Id. at PDF Pg 66-67.)

  “Journalists”—like attorneys, Powell argued—“must be free to rely on sources

  they deem to be credible, without being second-guessed by irate public figures who

  believe that the journalists should have been more skeptical.” (Id. at PDF Pg 67.)

        In response to the State Defendants’ supplemental brief, instead of

  explaining what efforts they undertook to investigate the veracity of the affidavits,

  Plaintiffs’ attorneys argue that they “never stated that lawyers cannot be held to

  account.” (ECF No. 120 at Pg ID 5004.) “Instead,” they argue, the motion to

  dismiss “justifies lawyers being afforded the same type of Constitutional

  protections as journalists,” “who . . . would lose the protection afforded to them by

  the Supreme Court . . . if they were ‘drawn into long court battles designed to




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  deconstruct the accuracy of sources on which they rely.’” (Id. at Pg 5004-05

  (quoting ECF 118-2 at PDF Pg 66-67).)

        Attorneys are not journalists. It therefore comes as no surprise that

  Plaintiffs’ attorneys fail to cite a single case suggesting that the two professions

  share comparable duties and responsibilities. Perhaps this confused understanding

  as to the job of an attorney, and what the law says about the attendant duties and

  obligations, is what led Plaintiffs’ counsel to simply copy and paste affidavits from

  prior lawsuits. Perhaps not. But what is certain is that Plaintiffs’ counsel will not

  escape accountability for their failure to conduct due diligence before recycling

  affidavits from other cases to support their pleadings here.

                      e)     Counsel’s failure to inquire into Ramsland’s
                             outlandish and easily debunked numbers

        Plaintiffs’ counsel attached Ramsland’s affidavit to their pleadings to

  support the assertion that hundreds of thousands of illegal votes were injected into

  Michigan’s election for President. (See ECF No. 6-24.) In his affidavit, Ramsland

  refers to several statistical “red flag[s],” including: (i) reports of 6,000 votes in

  Antrim County being switched from Former President Trump to President Biden

  and (ii) 643 precincts in Michigan with voter turn-out exceeding 80% (e.g.,

  460.51% in Zeeland Charter Township, 215.21% in Grout Township, Gladwin

  County, and 139.29% in Detroit). (Id. at Pg ID 1573-74 ¶¶ 10, 11.)


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        However, the State issued a bulletin well before this lawsuit was filed

  explaining the user error that led to the miscount in Antrim County’s unofficial

  results, which had been “quickly identified and corrected.” (ECF No. 39-12.) And

  official election results for Michigan—reporting voter turnout rates vastly lower

  than the numbers in Ramsland’s affidavit—were published and readily available

  shortly after the election and well-before his report was filed here.67 A reasonable

  attorney, seeing Ramsland’s striking original figures, would inquire into their

  accuracy or at least question their source.

        Even the most basic internet inquiry would have alerted Plaintiffs’ counsel

  to the wildly inaccurate assertions in Ramsland’s affidavit. For example, in

  comparison to the voter turnout of 139.29% in the City of Detroit claimed by

  Ramsland, the official turnout was recorded on or before November 19, 2020 as




  67
    Ramsland fails to identify the source of his figures in the initial affidavit
  presented in this case, indicating only that he and his colleagues “have studied the
  information that is publicly available concerning the November 3, 2020 election
  results.” (See ECF No. 6-24 at Pg ID 1573 ¶ 9.) He astoundingly claims, however,
  that “[s]ome larger precincts in Wayne Co[unty] and others are no longer publicly
  reporting their data[.]” (Id. at Pg ID 1574 ¶ 11.) And after it was widely reported
  that Ramsland’s figures were grossly inaccurate, Plaintiffs’ counsel submitted new
  numbers from Ramsland in an “expert report” filed December 3, 2020, where
  Ramsland claims that “[t]he source of that original data was State level data that no
  longer exists [f]or some unexplained reason” and, for the first time, identifies those
  purported sources. (ECF No. 49-3 at Pg ID 3123 ¶ 6.)

                                            84
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  being 50.88%.68 Ramsland reported that voter turnout in Zeeland Charter

  Township was a whopping 460.51%, when an official report ran on November 11

  showed that the average turnout for the four precincts within the township was

  80.11%.69 And unlike Ramsland’s assertion of an eye-popping 781.9% turnout in

  the City of North Muskegon, the two precincts in the city had a turnout of 73.53%

  and 82.21%, averaging 77.78%, as indicated as of November 13, 2020.70

        And before Plaintiffs’ counsel presented Ramsland’s affidavit here, there

  was more to alert them as to the unreliability of Ramsland’s figures and to put

  them on notice that further inquiry was warranted. Specifically, attorneys used an

  affidavit from Ramsland in Wood’s challenge to the presidential election results in

  Georgia. See Aff., Wood v. Raffensperger, No. 20-04651 (N.D. Ga. Nov. 18,

  2020), ECF No. 7-1. But there, Ramsland represented data as being from

  Michigan when, in fact, the townships listed were in Minnesota. See id. at Pgs. 3,

  6. Moreover, it was widely publicized before Plaintiffs’ counsel offered




  68
    Official Results for November 3, 2020 General Election, City of Detroit (Nov.
  19, 2020, 2:11 PM), https://perma.cc/A8MY-FZEJ.
  69
    Official Results for Ottawa County Precinct, Ottawa County (Nov. 11, 2020,
  4:20 PM), at PDF Pg 918-54, https://perma.cc/3W57-D33G.
  70
    Official Results for Muskegon County Precinct, Muskegon County (Nov. 13,
  2020, 5:55 PM), at PDF Pg 466-67, https://perma.cc/9MAA-J6RU.

                                           85
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  Ramsland’s affidavit here that even for the Minnesota locations, Ramsland’s

  conclusions about over-votes was not supported by official data from the State.71

        It is true, as Plaintiffs’ attorneys assert to defend their use of Ramsland’s

  affidavit, that Ramsland adjusted his voter turnout figures in a subsequently filed

  report. (See ECF No. 157 at Pg ID 5396; ECF No. 49-3 at Pg ID 3124.) However,

  counsel never drew attention to this modification in the reply brief to which

  Ramsland’s updated report was attached, or anywhere else. (See ECF No. 49.)

  But more importantly, this does not change the fact that a reasonable inquiry was

  not done before Ramsland’s initial affidavit was presented.72

        For the reasons discussed in subsections a-e above, the Court concludes that

  Plaintiffs’ counsel presented pleadings for which the factual contentions lacked

  evidentiary support.




  71
    See, e.g., Aaron Blake, The Trump Campaign’s Much-Hyped Affidavit Features
  a Big, Glaring Error, Washington Post (Nov. 21, 2020, 7:39 AM),
  https://perma.cc/E6LY-AL44.
  72
     It is unclear from counsel’s answers to the Court’s questions at the July 12
  hearing whether Plaintiffs’ attorneys questioned Ramsland about the startling
  numbers in his affidavit before it was filed or after. (See ECF No. 157 at Pg ID
  5395-96 (Kleinhendler explaining that he asked Ramsland about “these numbers”
  and “[Ramsland] said, ‘Yes, yes, I did question them. Yes, I did review, and yes,
  it was an error’ that he corrected on his reply affidavit.”).) However, even if
  Kleinhendler questioned Ramsland about the numbers before the affidavit was
  filed, such inquiry clearly was insufficient considering the readily available data
  contradicting them.
                                             86
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               3.      Whether Plaintiffs’ counsel acted with an improper purpose
                       in violation of Rule 11(b)(1)

        The Court already concluded that Plaintiffs’ counsel acted with an improper

  purpose when affirmatively labeling as an “illegal vote dump” the 100,000 ballots

  discussed on the news, despite failing to inquire as to the gaps that established the

  relevant affidavit as nothing more than conjecture. Evidence of improper purpose

  can also be found in their decision to label as “eyewitness testimony” an affidavit

  that does not state that the affiant saw election workers manually changing votes,

  especially when opting not to even ask the affiant if she saw such a thing. And

  still, evidence of bad faith abounds.

        First, Campbell filed an emergency motion within hours of the July 12

  hearing’s conclusion, asking the Court to publicly release the recording of the

  proceeding. (ECF No. 152.) In that motion, some of the attorneys representing

  Plaintiffs argued:

               [O]n June 17, 2021, the Court issued an order that
               “[e]ach attorney whose name appears on any of
               Plaintiffs’ pleadings or briefs shall be present at the
               motion hearing.” [ECF No. 123.] Media around the
               country picked up this story, including large internet
               news sites such as Yahoo, The Hill, and MSN. . . .

               Indicative of the public’s interest, the Sanctions Hearing,
               at its peak, “attracted more than 13,000 people watching
               the live video” on YouTube as broadcasted by the Court.
               The national media, from the Associated Press to CNN to
               the New York Times, ran stories on the hearing. Most
               outlets presented a narrative that counsel for plaintiffs
                                            87
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               believe to be incorrect. Those characterizations may
               change if the Court republishes the video and allows
               others to view it. . . . [T]he recording is no longer
               available on the Court’s website. Consequently, counsel
               is unable to refute what they believe to be public
               mischaracterizations. . . .

               There was a lot of “spirit” in the hearing in this court,
               which the public should be able to experience in its
               entirety—enabling citizens to draw their own inferences
               from the presentations instead of depending on media
               presentations.

  (Id. at Pg ID 5284-89 (emphasis added and footnotes omitted).)73

        Notwithstanding the apparent belief of Plaintiffs’ counsel, this case is being

  tried in a court of law, not the court of public opinion. As noted throughout this

  decision, statutes, rules, and standards of professional responsibility apply.

  Considering Plaintiffs’ attorneys’ obligation to act within these parameters, this

  Court is curious as to what narrative Plaintiffs’ attorneys wished to present through

  the video’s release. The Telegram message Wood posted within hours of the

  hearing’s conclusion gives some insight,74 as do the introductory remarks in


  73
    Plaintiffs’ attorneys also asserted that the video would assist them with the
  drafting of their supplemental briefs; however, this justification for releasing the
  video was not made until late in their brief and was addressed in only two
  paragraphs of the 15-paragraph submission. (ECF No. 152 at Pg ID 5289-90.)
  74
    In the post, Wood expressed in part that he “thought [he] was attending a hearing
  in Venezuela or Communist China.” (ECF No. 151-1 at Pg ID 5278.) He further
  expressed that “[t]he rule of law and due process does [sic] not exist at this time in
  our country except in a very, very few courtrooms.” (Id.)

                                            88
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  Plaintiffs’ counsel’s supplemental brief75. What is most important, however, and

  what very clearly reflects bad faith is that Plaintiffs’ attorneys are trying to use the

  judicial process to frame a public “narrative.” Absent evidentiary or legal support

  for their claims, this seems to be one of the primary purposes of this lawsuit.

            Second, there is a basis to conclude that Plaintiffs’ legal team asserted the

  allegations in their pleadings as opinion rather than fact, with the purpose of

  furthering counsel’s political positions rather than pursuing any attainable legal

  relief.

            As an initial matter, several of the allegations asserted in this and similar

  lawsuits filed by Plaintiffs’ attorneys are the subject of a lawsuit that the

  companies responsible for the Dominion election machines and software filed

  against Powell and her company, Defending the Republic, Inc.: U.S. Dominion,

  Inc. v. Powell, No. 1:21-cv-00040 (D.D.C. filed Jan. 8, 2021) (“Dominion

  Action”). 76 The State Defendants assert this in their supplemental brief. (ECF No.

  118-2 at Pg ID 4797, 4803-05.) And Powell admits this in response to the State



  75
     (Supp. Br. Filed by Campbell, ECF No. 167 at Pg ID 6679 (“Bias is hard for
  attorneys to avoid and it is undoubtedly no less difficult for judges. The difference
  is that there can be no tolerance for the influence of [] bias on a judicial decision.
  The issue of sanctions cannot be a partisan political exercise.” (internal citations
  omitted)).)
  76
    Other statements by Powell are at issue in the Dominion Action but the Court’s
  focus here is on those that are made in the instant lawsuit.
                                            89
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  Defendants’ brief (ECF No. 120 at Pg ID 4998, 5003), as well as in her motion to

  dismiss the Dominion Action (ECF No. 118-2 at PDF Pg 46 (conceding that “[t]he

  lawsuits containing the underlying allegations” in the Dominion Action, including

  “the exhibits and evidence on which the alleged defamatory statements are based,”

  “were filed in . . . Michigan”)).

        In response to the Dominion plaintiffs’ claim that Powell’s assertions here

  were defamatory, Powell has maintained that the statements were “opinions”

  which “reasonable people would not accept . . . as fact.” (Id. at PDF Pg 63.)

  Powell makes clear that at least some of the allegations in the current lawsuit were

  made to support her chosen political candidate. Specifically, Powell’s brief in

  support of her motion to dismiss in the Dominion Action states: “Given the highly

  charged and political context of the statements, it is clear that Powell’s statements

  were made as an attorney-advocate for her preferred candidate and in support of

  her legal and political positions.” (Id. at PDF Pg 62.) “The highly charged and

  political nature of the statements,” Powell continues in her brief, “underscores their

  political and hence partisan nature.” (Id. at PDF Pg 61.) Powell characterizes her

  statements and allegations as “vituperative, abusive and inexact” “political

  speech,” as well as “inherently prone to exaggeration and hyperbole.” (Id. at PDF

  Pg 62-63.) Powell latched onto the Dominion plaintiffs’ assertion that her

  allegations amounted to “wild accusations” and “outlandish claims” and therefore,

                                            90
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  she argued, “reasonable people would not accept” these alleged statements and

  allegations “as fact but view them only as claims that await testing by courts

  through the adversary process.” (Id. at PDF Pg 62.)

        It is not acceptable to support a lawsuit with opinions, which counsel herself

  claims no reasonable person would accept as fact and which were “inexact,”

  “exaggerate[ed],” and “hyperbole.” Nor is it acceptable to use the federal judiciary

  as a political forum to satisfy one’s political agenda. Such behavior by an attorney

  in a court of law has consequences. Although the First Amendment may allow

  Plaintiffs’ counsel to say what they desire on social media, in press conferences, or

  on television, federal courts are reserved for hearing genuine legal disputes which

  are well-grounded in fact and law. See Saltany v. Reagan, 886 F.2d 438, 440 (D.C.

  Cir. 1989) (explaining that the circuit court does “not conceive it a proper function

  of a federal court to serve as a forum for ‘protests,’ to the detriment of parties with

  serious disputes waiting to be heard” and suggesting the same for use as a

  “political [] forum”); see also Knipe v. Skinner, 19 F.3d 72, 77 (2d Cir. 1994)

  (affirming the imposition of Rule 11 sanctions where, as the district court found,

  the filing of the action was “[a]nother creative avenue to beat a dead horse” and the

  “pursui[t of] a personal agenda against [a government entity]” without a good faith

  basis).




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        The Court pauses to briefly discuss Plaintiffs’ attorneys’ attempt to cloak

  their conduct in this litigation under First Amendment protection. The attorneys

  have argued:

                 Setting a precedent to sanction an attorney whose case is
                 denied at the district court level on procedural grounds is
                 a grave abuse of the disciplinary process and potentially
                 constitutes intimidation for filing a grievance against the
                 government, which is a core protection of the First
                 Amendment.

  (ECF No. 112 at Pg ID 4615.) The attorneys have further argued that a sanctions

  order “would implicate Plaintiffs’ and their counsel’s First Amendment right of

  access to the courts.” (ECF No. 93 at Pg ID 4078.) The attorneys are incorrect.

        An attorney’s right to free speech while litigating an action “is extremely

  circumscribed.” Mezibov v. Allen, 411 F.3d 712, 717, 720-21 (6th Cir. 2005)

  (quoting Gentile v. State Bar of Nev., 501 U.S. 1030, 1071 (1991)). As the Sixth

  Circuit explained in Mezibov:

                 It is not surprising that courts have thus far been reluctant
                 to allow the First Amendment to intrude into the
                 courtroom. At first blush, the courtroom seems like the
                 quintessential arena for public debate, but upon closer
                 analysis, it is clear this is not, and never has been, an
                 arena for free debate. . . . An attorney’s speech in court
                 and in motion papers has always been tightly cabined by
                 various procedural and evidentiary rules, along with the
                 heavy hand of judicial discretion. . . . [and in] [t]he
                 courtroom[,] . . . the First Amendment rights of everyone
                 (attorneys included) are at their constitutional nadir.


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  Id. at 717 (internal citations omitted) (emphasis in original). Attorneys

  “voluntarily agree[] to relinquish [their] rights to free expression in [] judicial

  proceeding[s]” and “voluntarily accept[] almost unconditional restraints on [their]

  personal speech rights” when before a court. Id. at 719-20. For that reason, the

  Sixth Circuit has “see[n] no basis for concluding that free speech rights are

  violated by a restriction on that expression.”77 Id. at 719.

        Third, the Court finds an improper purpose because Plaintiffs’ counsel failed

  to conduct the pre-filing reasonable inquiry required of them as officers of the

  court, despite most of the attorneys acknowledging that “no one is immune to

  confirmation bias” and, therefore, “attorneys should look beyond their prejudices

  and political beliefs, and view evidence with a level of professional skepticism.”

  (Supp. Br. Filed by Campbell, ECF No. 161 at Pg ID 5818.) Plaintiffs’ attorneys

  attempt to excuse their failure to objectively evaluate their “evidence” because

  “[they] are not the only individuals who viewed the[] affidavits [attached to their

  pleadings] as evidence of serious fraud.” (Id. at Pg ID 5817.) They say Former

  President Trump “susp[ected]” it too (id. at Pg ID 5817-18), and “millions of []


  77
    The Court drew Plaintiffs’ counsel’s attention to Mezibov at the motion hearing
  in response to their repeated refrain that the First Amendment protects them from
  any sanctions for their conduct in this litigation. Despite doing so and urging
  counsel to review the Sixth Circuit’s decision (see ECF No. 157 at Pg ID 5497),
  Junttila continued to argue First Amendment protection in her supplemental
  brief—albeit in a more illogical and incoherent fashion. (ECF No. 165 at Pg ID
  6563-64).
                                             93
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  Americans . . . believed that their president would not intentionally mislead them”

  (id. at Pg ID 5817). As officers of the court, Plaintiffs’ counsel had an obligation

  to do more than repeat opinions and beliefs, even if shared by millions. Something

  does not become plausible simply because it is repeated many times by many

  people.78

           Counsel’s failure to “look beyond their prejudices and political beliefs”

  during this litigation and before filing this lawsuit strongly suggests improper

  motive. The evidence of bad faith and improper motive becomes undeniably clear

  when paired with the fact that Plaintiffs’ counsel violated Rule 11 in a multitude of

  ways. See supra. In other words, by failing to take the basic pre-filing steps that

  any reasonable attorney would have taken and by flouting well-established

  pleading standards—all while knowing the risk associated with failing to remain

  professionally skeptical, Plaintiffs’ counsel did everything in their power to ensure

  that their bias—that the election was fraudulent, as proclaimed by Former

  President Trump—was confirmed. Confirmation bias notwithstanding, Plaintiffs’

  counsel advanced this lawsuit for an improper purpose and will be held to account

  for their actions.

           Fourth, circumstances suggest that this lawsuit was not about vindicating

  rights in the wake of alleged election fraud. Instead, it was about ensuring that a


  78
       This is a lesson that some of the darkest periods of history have taught us.
                                              94
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  preferred political candidate remained in the presidential seat despite the decision

  of the nation’s voters to unseat him.

        Before the 2020 general election, Powell appears to have been certain that

  those who did not support Former President Trump already engaged in fraudulent

  illegal activity. On Election Day, Powell gave an interview during which she

  described “the many multifaceted efforts the democrats are making to steal the

  vote,” including “develop[ing] a computer system to alter votes electronically,”

  spreading the “COVID . . . apocalypse hoax,” and ensuring that “people . . . have

  not gotten their absentee ballots” even though “they’ve . . . request[ed] them three

  different times[] and been told they were cancelled.” (See, e.g., Interview Tr., U.S.

  Dominion, Inc. v. Powell, No. 21-cv-00040 (D.D.C. filed Jan. 8, 2021), ECF No. 1-

  20 at Pg 2:13-24.) Why would someone, who believes that election fraud is

  already happening and will likely reach peak levels on Election Day, not raise the

  alarm with the entity the individual claims can fix things—specifically, the

  judiciary? It is because Plaintiffs’ counsel was equally certain—even before the

  polls closed—that Former President Trump was going to win the 2020 election.

  (Id. at Pg 3:23-4:9 (claiming that the results of the 2020 election would be “the

  Trump victory,” and stating that “[Democrats] [have] effectively conceded that

  Trump is going to win at the voting booth”).)




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        Indeed, Plaintiffs’ attorneys waited until after votes were tallied to file this

  lawsuit, even though the record suggests that—well in advance of Election Day—

  they knew or should have known about the things of which they complained. (See,

  e.g., ECF No. 6 at Pg ID 927-933 (supporting allegation about “[D]ominion

  vulnerabilities to hacking” with an expert report dated August 24, 2020; a law

  review article dated December 27, 2019; letters dated October 6, 2006 and

  December 6, 2019; news articles dated May 4, 2010, August 10, 2017, and August

  8, 2019; a public policy report published in 2016; and a cybersecurity advisory

  dated October 30, 2020).)

        This game of wait-and-see shows that counsel planned to challenge the

  legitimacy of the election if and only if Former President Trump lost. And if that

  happened, they would help foster a predetermined narrative making election fraud

  the culprit. These things—separately, but especially collectively—evince bad faith

  and improper purpose in bringing this suit.

        Fifth, Joshua Merritt is someone whose identity counsel redacted, referring

  to him only as “Spyder” or “Spider,” and who counsel identified in their pleadings

  and briefs as “a former electronic intelligence analyst with 305th Military

  Intelligence” and a “US Military Intelligence expert.” (Id. at Pg ID 880 ¶ 17, 932

  ⁋ 161; ECF No. 7 at Pg ID 1835.) Yet, even after learning that Merritt never




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  completed any intelligence analyst training program with the 305 th Military

  Intelligence Battalion, Plaintiffs’ counsel remained silent as to this fact.

        In its motion for sanctions, the City emphasizes Merritt’s statement that the

  “original paperwork [he] sent in [to Plaintiffs’ counsel] didn’t say that” he was an

  electronic intelligence analyst under 305th Military Intelligence. (ECF No. 78 at

  Pg ID 3657.) According to the City, a spokeswoman for the U.S. Army

  Intelligence Center of Excellence, which includes the battalion, stated that

  “[Merritt] kept washing out of courses . . . [h]e’s not an intelligence analyst.” (Id.)

  Plaintiffs’ counsel did not dispute these assertions in their response brief. (ECF

  No. 95 at Pg ID 4144.) Nor did Plaintiffs’ counsel dispute these assertions during

  the hearing.

        Instead, Kleinhendler argued during the hearing that Merritt’s “expertise” is

  based on “his years and years of experience in cyber security as a confidential

  informant working for the United States Government” (ECF No. 157 at Pg ID

  5375)—not Merritt’s purported military intelligence training. Clearly this is

  dishonest. This was not the experience on which Plaintiffs’ attorneys premised

  Merritt’s expertise in their pleadings and Motion for Injunctive Relief, and Merritt

  never claims in his declaration that he has “years and years of experience in cyber




                                             97
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  security as a confidential informant working for the United States Government.”79

  (See ECF No. 6-25.) Instead, it was precisely Merritt’s experience as “an

  electronic intelligence analyst under 305th Military Intelligence” that Plaintiffs’

  attorneys presented to convince the Court and the world that he is a reliable expert.

        Kleinhendler argued during the hearing, however, that he first learned about

  this inconsistency after the case was dismissed on January 14. (ECF No. 157 at Pg

  ID 5375.) “I had no reason to doubt,” Kleinhendler explained. (Id.) This also is

  dishonest.

        First, the City attached an article from the Washington Post to its January 5

  motion for sanctions,80 which at least put Plaintiffs’ counsel on notice that Merritt

  lacked the expertise they claimed. Yet curiously, during the hearing, when the

  Court asked if “anyone ask[ed] [Plaintiffs’ counsel] if, or suggest[ed] to [them]

  that, [Merritt] was not a military intelligence expert,” Kleinhendler, Haller, and




  79
    To the extent that Plaintiffs’ attorneys claim that an “affidavit” attached to their
  reply to the motion to seal includes this assertion (see ECF No. 157 at Pg ID 5385
  (citing ECF Nos. 50, 50-1)), it does not. That “affidavit” is not signed by or
  associated with anyone, much less someone named Spyder, Spider, or Joshua
  Merritt. (ECF No. 50-1.)
  80
    (ECF No. 78-18); Emma Brown, Aaron C. Davis, and Alice Crites, Sidney
  Powell’s Secret ‘Military Intelligence Expert,’ Key to Fraud Claims in Election
  Lawsuits, Never Worked in Military Intelligence, Washington Post (Dec. 11, 2020,
  6:29 PM), https://perma.cc/2LR2-YTBG.

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  Powell said “no” and all other counsel agreed by remaining silent. (Id. at Pg ID

  5386-87.)

          Second, the Court finds it implausible (for several conspicuous reasons) that

  absolutely no member of Plaintiffs’ legal team learned of the Washington Post

  article (and thus the questions it raised) shortly after it was published on December

  11, 2020. This is especially so considering that, according to the Washington Post

  article, when “[a]sked about Merritt’s limited experience in military intelligence,”

  Powell stated “in a text to The [Washington] Post: ‘I cannot confirm that Joshua

  Merritt is even Spider. Strongly encourage you not to print.’”81

          Kleinhendler further argued that Plaintiffs’ counsel’s assertion that Merritt

  was a U.S. military intelligence expert was “not technically false” or “technically

  [] wrong” because “[h]e did spend, from [Kleinhendler’s] understanding, seven

  months training with the 305th.” (Id. at Pg ID 5375, 5384-85.) The Court is

  unconvinced by this effort to mischaracterize. Kleinhendler himself admitted that

  labeling Merritt as a U.S. military intelligence expert is “not [] the full story.” (Id.

  at Pg ID 5384.) Surely, any reasonable attorney would find it prudent to be

  forthcoming after learning that one of his experts never actually completed the

  training upon which the expert’s purported expertise is based.




  81
       (ECF No. 78-18 at Pg ID 3799.)
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         And Kleinhendler appears to concede that this argument is a poor one

   because he nonetheless admits that “[h]ad [he] known in advance [of the January

   14 dismissal] that [Merritt] had transferred out, [he] would have made [it] clear.”

   (Id. at Pg ID 5375, 5384-85, 5387.) But this is yet another misrepresentation. As

   detailed above, by January 5, Kleinhendler knew Merritt never completed the

   training that formed the basis of his purported expertise. Yet, Kleinhendler did not

   “make it clear.” Co-counsel for Plaintiffs also had reason to question Merritt’s

   expertise by no later than January 5. Yet, they remained silent too.

         Ultimately, Plaintiffs’ counsel’s decision to not make clear “the full story”

   about Merritt not completing military intelligence training was for the improper

   purpose of bolstering their star witness’ expertise and misleading the Court,

   opposing counsel, and the world into believing that Merritt was something that he

   was not.

         Finally, despite what this Court said in its December 7, 2020 decision and

   what several other state and federal courts have ruled in similar election-challenge

   lawsuits, Plaintiffs’ lawyers brazenly assert that they “would file the same

   complaints again.” (Id. at Pg ID 5534.) They make this assertion even after

   witnessing the events of January 6 and the dangers posed by narratives like the one

   counsel crafted here. An attorney who willingly continues to assert claims doomed




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   to fail, and which have incited violence before, must be deemed to be acting with

   an improper motive.

         In sum, each of the six matters discussed above individually evince bad faith

   and improper purpose. But when viewed collectively, they reveal an even more

   powerful truth: Once it appeared that their preferred political candidate’s grasp on

   the presidency was slipping away, Plaintiffs’ counsel helped mold the

   predetermined narrative about election fraud by lodging this federal lawsuit based

   on evidence that they actively refused to investigate or question with the requisite

   level of professional skepticism—and this refusal was to ensure that the evidence

   conformed with the predetermined narrative (a narrative that has had dangerous

   and violent consequences). Plaintiffs’ counsel’s politically motivated accusations,

   allegations, and gamesmanship may be protected by the First Amendment when

   posted on Twitter, shared on Telegram, or repeated on television. The nation’s

   courts, however, are reserved for hearing legitimate causes of action.

         C.     Whether the Court May Sanction Plaintiffs’ Counsel Pursuant to
                Its Inherent Authority

         To award attorneys’ fees pursuant to its inherent authority, a district court

   must find that (i) “the claims advanced were meritless,” (ii) “counsel knew or

   should have known this,” and (iii) “the motive for filing the suit was for an

   improper purpose such as harassment.” Big Yank, 125 F.3d at 313.


                                            101
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         As discussed in the preceding subsections, Plaintiffs’ counsel advanced

   claims that were not well-grounded in the law, as demonstrated by their (i)

   presentment of claims not warranted by existing law or a nonfrivolous argument

   for extending, modifying, or reversing the law; (ii) assertion that acts or events

   violated Michigan election law, when the acts and events (even if they occurred)

   did not; and (iii) failure to inquire into the requirements of Michigan election law.

   Plaintiffs’ counsel advanced claims that were also not well-grounded in fact, as

   demonstrated by their (i) failure to present any evidentiary support for factual

   assertions; (ii) presentment of conjecture and speculation as evidentiary support for

   factual assertions; (iii) failure to inquire into the evidentiary support for factual

   assertions; (iv) failure to inquire into evidentiary support taken from other lawsuits;

   and (v) failure to inquire into Ramsland’s outlandish and easily debunked numbers.

         And, for the reasons discussed above, Plaintiffs’ counsel knew or should

   have known that these claims and legal contentions were not well-grounded in law

   or fact. Moreover, for the reasons also discussed above, the Court finds that

   Plaintiffs and their counsel filed this lawsuit for improper purposes.

         Accordingly, sanctions also are warranted pursuant to the Court’s inherent

   authority.




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   V.    Conclusion

         In summary, the Court concludes that Plaintiffs’ counsel filed this lawsuit in

   bad faith and for an improper purpose. Further, they presented pleadings that (i)

   were not “warranted by existing law or by a nonfrivolous argument for extending,

   modifying, or reversing existing law or establishing new law” and (ii) contained

   factual contentions lacking evidentiary support or likely to have evidentiary

   support. 82 Finally, by failing to voluntarily dismiss this lawsuit on the date

   Plaintiffs’ counsel acknowledged it would be moot and thereby necessitating the

   filing of motions to dismiss, Plaintiffs’ attorneys unreasonably and vexatiously

   multiplied the proceedings.

         For these reasons (and not for any conduct that occurred on appeal), the

   Court holds that sanctions against Plaintiffs’ counsel are warranted under Rule 11,

   § 1927, and the Court’s inherent authority. Sanctions are required to deter the

   filing of future frivolous lawsuits designed primarily to spread the narrative that


   82
     And for these reasons, this lawsuit is not akin to Brown v. Board of Education,
   347 U.S. 483 (1954), as Plaintiffs’ counsel, Powell, baselessly suggested during
   the July 12 hearing. (ECF No. 157 at Pg ID 5534.) Yes, attorneys may and should
   raise difficult and even unpopular issues to urge change in the law where change is
   needed. But unlike Plaintiffs’ attorneys here, then-attorney Thurgood Marshall
   had the requisite legal footing on which his clients’ claims were grounded in
   Brown, and the facts were not based on speculation and conjecture. Brown arose
   from an undeniable history during which Black Americans were treated as second-
   class citizens through legalized segregation in the schools of our country. In stark
   comparison, the present matter is built on fantastical claims and conspiracy
   theories.
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   our election processes are rigged and our democratic institutions cannot be trusted.

   Notably, many people have latched on to this narrative, citing as proof counsel’s

   submissions in this case. The narrative may have originated or been repeated by

   Former President Trump and it may be one that “many Americans” share (see ECF

   No. 161 at Pg ID 5817); however, that neither renders it true nor justifies counsel’s

   exploitation of the courts to further spread it.

         A.     Whether Sanctions Should be Awarded to Intervenor-Defendants

         Plaintiffs do not challenge the Court’s power to award sanctions to

   Intervenor-Defendants. However, Plaintiffs maintain that, under § 1927, “a party

   seeking sanctions . . . has a duty to mitigate their damages.” (Id. at Pg ID 5809

   (citing Carter v. Hickory Healthcare, Inc., 905 F.3d 963, 970 (6th Cir. 2018)); see

   also ECF No. 165 at Pg ID 6573 (same).) According to Plaintiffs, the City and

   Davis did just the opposite by intervening in this lawsuit where they were not

   being sued and, Plaintiffs assert, had no necessary interest to protect.

         The Court already concluded, however, that Davis and the City possess a

   substantial legal interest in this matter warranting their intervention either as a

   matter of right or permissibly. (See ECF No. 28.) Of course, every intervenor

   could mitigate its damages by staying out of a lawsuit; however, choosing to step

   in does not on its own mean parties cannot seek an award of sanctions when they

   prevail in protecting their interests.

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         Despite this, the Court declines to award sanctions to Davis because he did

   not substantially contribute to the resolution of the issues in this case. As the Court

   noted in its opinion denying Davis’ request to intervene as of right, the State

   Defendants, the DNC/MDP, and the City aimed to protect the interests of all

   Wayne County voters, including Davis. (Id. at Pg ID 2143-44.) Although the

   Court granted Davis’ request for permissive intervention, the Court noted that its

   decision was a “close call” and that it granted Davis’ request only because “[his]

   intervention [would] not unduly delay or prejudice the adjudication of the original

   Defendants’ rights.” (Id. at Pg ID 2146, 2145 n.2 (citations omitted).)

         In fact, Davis’ involvement did more to interfere with than assist the

   advancement of this litigation. Davis’ briefs added little to the discussion,83 and he

   often clogged the Court’s docket with inconsequential requests and wasted the




   83
      Davis’ Response to Emergency Motion for Temporary Restraining Order
   contained two brief arguments and a note that “[he] hereby incorporates by
   reference all of the legal arguments asserted by Defendants and Intervening
   Defendants in their respective responses to Plaintiffs’ motion for TRO” “[i]n order
   to alleviate redundancy.” (ECF No. 37 at Pg ID 2749.) And Davis’ Motion for
   Sanctions summarized and quoted—for nearly the entire length of the brief—a
   Detroit Free Press article, the Court’s December 7, 2020 Opinion & Order Denying
   Plaintiffs’ Motion for Injunctive Relief, and case law regarding § 1927 and a
   court’s inherent authority, as well as proffered a disjointed argument about why the
   alleged falsity of Ramsland’s affidavit resulted in the unreasonable and vexatious
   multiplication of proceedings in violation of § 1927. (ECF No. 69.)

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   Court’s limited time with the same84. Moreover, despite speaking only twice

   during the almost six-hour long sanctions hearing (ECF No. 157 at Pg ID 5340,


   84
     For example, (i) Davis’ Emergency Motion to Strike Amended Complaint (ECF
   Nos. 41, 42), filed on December 3, 2020, was denied in a text-only order on the
   same day;

   (ii) Davis’ Emergency Motion to Strike Emergency Motion for Temporary
   Restraining Order (ECF No. 45), also filed on December 3, 2020, was withdrawn
   on December 4 (ECF No. 51);

   (iii) the Emergency Motion to Expedite Briefing, Scheduling and Adjudication of
   Intervenor Defendant Robert Davis’ Emergency Motions to Strike (ECF No. 46),
   also filed on December 3, 2020, was withdrawn on December 4 (ECF No. 51);

   (iv) Davis’ Emergency Motion for Court to Take Judicial Notice of Newspaper
   Articles Published in Detroit Free Press and Associated Press (ECF No. 59), filed
   on December 5, 2020, was denied on December 6 via a text-only order, which
   stated that “[t]he Court [found] the newspaper articles unnecessary to resolve the
   pending [Motion for Injunctive Relief]”;

   (v) Davis’ Emergency Motion to Strike Motion for Extension of Time to File
   Response/Reply as to Motion for Sanctions (ECF No. 75), filed on January 4, 2021
   because Plaintiffs’ counsel “mistakenly selected and identified [] Davis as the
   ‘filer’” of Plaintiffs’ counsel’s motion for extension of time (id. at Pg ID 3603),
   was denied as moot on January 5, after the Court ordered “the Clerk’s Office [to]
   correct the docket entry text associated with Plaintiffs’ motion [] so that the filing
   party is noted as ‘All Plaintiffs’—not ‘Robert Davis’” (ECF No. 76 at Pg ID 3611);

   (vi) Davis’ Motion for Court to Take Judicial Notice of Motion to Withdraw as
   Counsel Filed in the U.S. District Court for the Eastern District of Pennsylvania
   against Donald J. Trump for President, Inc. (ECF No. 79), filed on January 8,
   2021, was denied on July 19, 2021 in an order, which stated that “the Court [did
   not] find it necessary to consider the motion to withdraw filed in another federal
   district court . . . to decide the pending sanctions motions” (ECF No. 149 at Pg ID
   5267);


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   5519), Davis’ counsel (unlike counsel to every other party to this case) opted not to

   file any supplemental briefing—presumably because, again, Davis had nothing to

   contribute.

         Ultimately, the Court refuses to reward Davis for taking the Court’s time and

   giving nothing back.

         B.      Sanctions Imposed

         This lawsuit should never have been filed. The State Defendants and the

   Intervenor-Defendants should never have had to defend it. If Plaintiffs’ attorneys

   are not ordered to reimburse the State Defendants and the City for the reasonable

   fees and costs incurred to defend this action, counsel will not be deterred from

   continuing to abuse the judicial system to publicize their narrative. Moreover, this

   Court has found that Plaintiffs’ counsel initiated this litigation for an improper




   (vii) Davis’ Emergency Motion to Strike Voluntary Dismissal (ECF No. 97), filed
   on January 20, 2021 after Plaintiffs’ counsel misidentified a document on January
   14 by selecting the wrong activity on the Court’s electronic filing system, asked
   the Court to “sanction Plaintiffs’ counsel for refusing to correct the error that was
   promptly brought to her attention by [] Davis’ counsel” on January 18—the Court
   denied the motion via a 3-page order on January 25 (ECF No. 99); and

   (viii) Davis’ Emergency Motion for Court to Take Judicial Notice of Michigan
   Senate Oversight Committee’s June 23, 2021 Report on November 2020
   presidential election (ECF No. 124), filed on June 23, 2021, was denied on July 19,
   2021 in an order, which stated that “the Court [did not] find it necessary to
   consider . . . the Michigan Senate Oversight Committee’s June 21, 2021 report . . .
   to decide the pending sanctions motions” (ECF No. 149 at Pg ID 5267).
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   purpose, rendering this the “unusual circumstance” in which awarding attorneys’

   fees is warranted.

         Further, given the deficiencies in the pleadings, which claim violations of

   Michigan election law without a thorough understanding of what the law requires,

   and the number of failed election-challenge lawsuits that Plaintiffs’ attorneys have

   filed, the Court concludes that the sanctions imposed should include mandatory

   continuing legal education in the subjects of pleading standards and election law.

         Lastly, the conduct of Plaintiffs’ counsel, which also constituted violations

   of the Michigan Rules of Professional Conduct, see, e.g., MRPC 3.1 and 3.3, calls

   into question their fitness to practice law. This warrants a referral for investigation

   and possible suspension or disbarment to the appropriate disciplinary authority for

   every state bar and federal court in which each attorney is admitted, see Fed. R.

   Civ. P. 11 Advisory Committee Notes (1993 Amendment) (explaining that such

   referrals are available as a sanction for violating the rule); E.D. Mich. LR

   83.22(c)(2). 85


   85
      The Court is troubled that Powell is profiting from the filing of this and other
   frivolous election-challenge lawsuits. See https://defendingtherepublic.org
   (website of company run by Powell on which donations are solicited to support the
   “additional cases [being prepared] every day”). Other attorneys for Plaintiffs may
   be as well, given that their address (according to the filings here) is the same
   address listed on this website. What is concerning is that the sanctions imposed
   here will not deter counsel from pursuing future baseless lawsuits because those
   sanctions will be paid with donor funds rather than counsel’s. In this Court’s view,

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         Accordingly,

         IT IS ORDERED that the motions for sanctions filed by the State

   Defendants (ECF No. 105) and City of Detroit (ECF No. 78) are GRANTED. The

   Court is granting in part and denying in part Davis’ motion for sanctions (ECF No.

   69) in that the Court finds sanctions warranted but not an award of Davis’

   reasonable attorneys’ fees or costs.

         IT IS FURTHER ORDERED that Plaintiffs’ attorneys shall jointly and

   severally pay the fees and costs incurred by the State Defendants and the City of

   Detroit to defend this action. See Fed. R. Civ. P. 11(c)(4).

         IT IS FURTHER ORDERED that within fourteen (14) days of this

   Opinion and Order, the State Defendants and City of Detroit shall submit time and

   expense records, specifying for each attorney who performed work on the matter,

   the date, the hours expended, the nature of the work performed, and, where

   applicable, the attorney’s hourly rate. Plaintiffs’ counsel may submit objections to

   the requested amount within fourteen (14) days of each movants’ filing.

         IT IS FURTHER ORDERED that Plaintiffs’ attorneys shall each complete

   at least twelve (12) hours of continuing legal education in the subjects of pleading

   standards (at least six hours total) and election law (at least six hours total) within



   this should be considered by any disciplinary authority reviewing counsel’s
   behavior.
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   six months of this decision. Any courses must be offered by a non-partisan

   organization and must be paid for at counsel’s expense. Within six months of this

   decision, each attorney representing Plaintiffs shall file an affidavit in this case

   describing the content and length of the courses attended to satisfy this

   requirement.

         IT IS FURTHER ORDERED that the Clerk of the Court shall send a copy

   of this decision to the Michigan Attorney Grievance Commission and the

   appropriate disciplinary authority for the jurisdiction(s) where each attorney is

   admitted, referring the matter for investigation and possible suspension or

   disbarment: (i) Sidney Powell - Texas; (ii) L. Lin Wood - Georgia; (iii) Emily

   Newman - Virginia; (iv) Julia Z. Haller - the District of Columbia, Maryland, New

   York and New Jersey; (v) Brandon Johnson - the District of Columbia, New York,

   and Nevada; (vi) Scott Hagerstrom - Michigan; (vii) Howard Kleinhendler - New

   York and New Jersey; (viii) Gregory Rohl - Michigan; and (iv) Stefanie Lynn

   Junttila - Michigan.

         IT IS SO ORDERED.

                                                    s/ Linda V. Parker
                                                    LINDA V. PARKER
                                                    U.S. DISTRICT JUDGE
    Dated: August 25, 2021




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